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EXHIBIT 1

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Louis Niedelman, Esquire

(New Jersey 254601969)
COOPER LEVENSON, P.A.
1125 Atlantic Avenue - 3rd Floor
Atlantic City, NI 08401
Telephone: (609) 344-3161
Facsimile: (609) 344-0939

File No. 60,3 89-9

Attorney for Plaintiff, BOARD OF TRUSTEES OF THE INTERNATIONAL ACADEMY OF

ATLANTIC CITY CHARTER SCHOOL

 

BOARD OF TRUSTEES OF THE
INTERNATIONAL ACADEMY OF ATLANTIC
CITY CHARTER SCHOOL,

Plaintiff,
vs.

SPRINGFIELD EDUCATION MANAGEMBNT,
LLC; SABIS EDUCATIONAL SYSTEMS, [NC.;
CARL BISTANY; LYNN SPAMIMATO; JOSE
ALFONSO; and ANNA DOSEN, jointly, severally :
and in the alternative,

Defenda.nts.

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
ATLANTIC COUNTY

DOCKETNO. ,~P_(Ti/ d L

Civil Action

/)S'?>]-»/ao'

VERIF{ED COMPLAINT
FOR COMPENSATORY AND
PUNTIVE DAMAGES AND
AN ORDER TO SI-IOW CAUSE

INTRODQQTION
l. Plaintlff, the Board of Trustees of the International Aca,derny of Atlantic City

Charter School, located at 6718 Black Horse Pike, Egg Harbor Township, New Jersey 08234,

operates an independent public charter school in accordance with the New Jersey Cha.rter School

Program Act of 1995, N.J.S.A. 18A:36A-1 et seq., and the New Jersey Administrative Code

Charter School Regulations Act, N.J.A.C. 6A:ll-l.l, and in accordance with all other applicable

federal and state Iaw. The Plainti£f will be identiiied in this Complaint as the “SCHOOL”.

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2. Defendants are in the business of educating children in accordance with the

Educational Program and Philosophy of SABIS Educational Systerns, Inc. [“SABIS"].

3. The SCHOOL and SABIS entered into a contract known as “Education Service
Provider Agreement" [“AGREEMENT”] dated January 29, 2015. This AGREEMENT is

attached to this pleading as Exhibit A.

4. This AGREEMENT forms the basis of lthis lawsuitl

ALLEGATIONS
_COUNT ONE - BREACH OF CONTRACT

5. Pursuant to the terms of the AGREEMENT, SABIS agreed to supply certain

products and services to the SCHOOL during the term of the AGREEMENT [the “TERM”].

6. During this TERM, Defendants failed to comply with their contractual

responsibilities, including, but not limited to:
A. Fallure to provide a full-time Certiiied Principal;

B. Failure to engage in a good faith effort to renew the SCHOOL'S charter,

absent a renewal of the entire AGREEMENT;

C. Failure to manage the activities of the SCHOOL DIRECTOR as required by

the AGREEMENT;

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D. Failure to perform the REAL ESTATE functions as required by the

AGRBEMENT;

E. Failure to perform the INSURANCE requirements as demanded by the

AGREEMENT;

F. Failure to perform the ENROLLMENT function requirements as demanded

by the AGREEMENT;

G. Failure to perform the TEACHER AND STAFF requirements as demanded by

the AGREEMENT;

H. Failure to perform the REPORTING BY EDUCATIONAL PROVIDER

requirements as demanded by the AGR.EEMENT; and

I. Failure to provide timely and qualified personnel to ensure that the SCHOOL

was equipped to properly educate its student body.

7. Pursuant to the terms and conditions of the AGREEMENT, on May 11, 2018, the
SCHOOL sent a timely notice to the Defendants advising of Plaintiff’s intent to terminate the

AGREEMENT and not to renew the AGREBMENT.

8. The Plaintiff has complied with all terms and conditions of the AGREEMENT.

9. As a result, Plaintiff has sustained ascertainable damages and losses.

WHEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative for compensatory and punitive damages, and recovery of attorney’s fees,

legal costs and expenses

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CGUNT TWO - GRDER TO §HOW CAUSE

10. Paragraph 8.2.2 of the AGR.EEMENT compels the parties to the AGR.EEMENT
to resolve any disputes through Binding Arbitration alone. This requirement is illegal as stated
in Paragraph 8.2.2 pursuant to applicable New Jersey law. See Morgan v§, Sanf`ord BQM

Institute, 225 N, J, 289 (2016).

ll. Defendants, on June 18, 2018 filed for Arbitration with the American Arbitration

Association. See Exhibit B attached

12. This Verified Complaint seeks an Order to Show Cause why this Arbitration

filing should not be stricken and dismissed with prejudice

WHEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative, for dismissal with prejudice of the Arbitration filing by the Def`endants,
plus compensatory and punitive damages, and recovery of attorney's fees, legal costs and

expensesl
COUNT THREE - NEGLIGE C

13. All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference.

14, Defendants at all times conducted themselves in a negligent, careless, reckless,
grossly negligent, and intentional fashion in attempting to comply with the terms and conditions

of the AGREEMENT.

15. As a result, Plaintif`fhas sustained ascertainable damages and losses.

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WHEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative, for compensatory and punitive damages. and recovery of attorney's fees,

legal costs and expenses

COUNT FOUR

VIOLATION OF THE §EW J§RSEY CONSUN[ER FRAUD ACT

16. All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference.

17. Pursuant to N.J.S.A. 56:8-1 et seq., the New Jersey Consumer Fraud Act, Plaintiff
qualifies as a “consumer” of goods and services purchased from the Defendants, who are also

bound by this statutel

18. Defendants engaged in unconscionable commercial practices, deception, fraud,
false pretense, false prcmises, misrepresentations, and the knowing concealment suppression
and omission of material facts with an intent that Plaintiff rely upon such, all of which

constituted unlawful practices within the ambit of N.J.S.A. 56:8-1 et seq.
19. As a result, Plaintiff has sustained ascertainable damages and losses to plaintifft

WHEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative, for treble compensatory and punitive damages, and recovery of attorney’s

fees, legal costs and expenses

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20. All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference.

21. Specifically, Defendants engaged in common law fraud, including but not limited
to, their fraudulent and willful defaults as described in Count One. Plaintiff relied upon these
false and fraudulent representations and conduct resulting in Plaintiff sustaining ascertainable
damages and losses. All of Defendants’ fraudulent conduct occurred between January 29, 2015

and June 20, 2018, including, but not limited to, the following:

A. On or about Iune 23, 2016: Defendants created a discriminatory work
environment with gender discrimination against the SCHOOL by offering a
salary of $125,000 per year to a male, where a female had superior

credentials and was earning a lesser salary than the male;

B. On or about June 30, 2016‘. Defendants failed to provide an annual report for

the school year 2017-2018;

C. On or about March 20, 2017 and other dates, the Plaintiff issued real estate
expenditures that were recommended by the Defendants and were excessive

and improper;

D. On or about April 25, 2017 Defendants failed to support and timely respond to

an urgent need for space expansion;

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E. On or about October 2, 2017 Plaintiff learned that the Defendants had failed to
secure proper and adequate insurance coverage to respond to a physical
damage claim by the owner lessor of their prior school premises located in

Pleasantvilie, New Jersey;

F. On or about October 23, 2017 Defendants failed to provide an Academic
Offlcer and demanded that the school not hire a qualified candidate but
instead allowed the position to be vacant, all to the detriment of the Plaintit`f

and the students of the school;

G. On or about February 8, 2018 it was discovered that Defcndants allowed 14
people, no longer associated with the sohool, to remain on the insurance roster
and allowed and authorized the SCHOOL to pay $62,000.00 for them and this

payment was unnecessary and was evidence of the negligence of Defendants;

H. On or about April 16, 2018 Defendants failed to provide a qualified School

Director pursuant to a motion of the Board of Trustees', and

I. For the years 2015, 2016, 2017 and 2018 Defendants failed to provide
quarterly budget reviews so that the Plaintiff coqu estimate actual expenses

versus future expensesl

22. Defendants have engaged in common law fraud all to the financial detriment of

Plaintiff.

23. As a result, Plaintiff has sustained ascertainable damages and losses.

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WI~IEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative, for compensatory and punitive damages, and recovery of attorney’s fees,

legal costs and expensesl

COUNT SIX

 

BREAC§ QF §OYE§ANT OF GOOD FAITE A§D FAIR DE&!§G

24. All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference.

25. Defendants have negligently and intentionally violated their covenant cf good
faith and fair dealing owed to the Plaintiff by their mismanagement of the SCHOOL and their
multiple breaches of the terms and conditions of the AGR.EEMENT entered into with the

Plaintiff.

26. On June ll, 2018, Defendants intentionally and deliberately filed an Ethics
Complaint with the School Ethics Commission of the New Jersey Department of Education
against Peter Caporilli [President of the Plaintiff Board] in an effort to stymie, sabotage and

otherwise interfere with the normal operation of the SCHOOL. See Exgiblt § attached.

27. As a resuit, Plaintiff has sustained ascertainable damages and losses.

WHEREFORE, Plaintiff demands judgment against the Defcndants, jointly, severally
and in the alternative, for compensatory and punitive darnages, and recovery of attomey’s fees,

legal costs and expenses.

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COUNT SEVEN

TQBTIOUS INTERFERENCE WITH PRO§PECTIVE ECONOMIC ADVANTAGE

28. All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference.

29. As a result of Defenda.nts’ conduct as described above in all Counts, Defendants
have tortiously interfered with Plaintiff’s economic advantage in the management and operation

of the SCHOOL, all to the detriment of the Plajntiff`.

30. At the Board of Trustees meeting of the SCHOOL conducted on June 20, 2018,
representatives of Defendants, in public session, stated in writing and verbally that “Dr. Caporilli
is not fit to remain on the Board and we ask that he resign or be removed immediately . . . . in
addition, the other Board members should seriously consider whether their continuance on the

Board serves the best interests of the School."
31. As a result, Plaintiff has sustained ascertainable damages and losses.

WHEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative, for compensatory and punitive damages, and recovery of attorney’s fees,

legal costs and expenses

COUNT EI H

UNJUST ENRICHME§T

32. All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference

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33. Plaintiff did not receive the value of the goods and services for which they
contracted pursuant to the AGREEMENT which goods and services Defendants promised to

deliver contractually.

34. Plaintiff has paid in full for all the contracted goods and services and therefore

Defendants have been unjustly enriched.
35. As a result, Plaintiff has sustained ascertainable damages and losses.

WHEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative, for compensatory and punitive damages, and recovery of attomey’s fees,

legal costs and expenses.

COUNT NINE

BBEACH 0§+" FIDUCIARY DUTIES

36, All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference

37. At all times, Defendants owed fiduciary duties to the Plaintiff to fulfill their
contractual responsibilities in a timely and competent manner for the benefit of the Plaintiff.

Defendants breached these iiiduciary duties resulting in damages and losses to the plaintiff.
38. As a result, Plaintiff has sustained ascertainable damages and losses.

WHEREFORE, Plaintiff demands judgment against the Defendants, jointly, severally
and in the alternative, for compensatory and punitive damages, and recovery of attorney’s fees,

legal costs and expenses.

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COUNT TEN

CLAI`M FOR REIMBURSEMENT OF FEES AND EXPENSE§ RAID TO DEFENDANTS

39. All paragraphs of the preceding Counts are repeated and incorporated into this

Count by reference

40. As a result of Defendants’ conduct identified in this Verified Complaint and the
claims asserted in all Counts set forth above, Plaintiff seeks reimbursement of all fees and
expenses paid to Defendants from the inception of the AGREEMENT on January 29, 2015 to

date.
41. As a result, Plaintiff has sustained ascertainable damages and losses.

WHEREFORE, Plaintiff demands reimbursement damages against Defendants, jointly,

severally and in the alternative, including recovery of attorney‘s fees, legal costs and expenses.

JURY DEMA§D

Trial by jury is hereby demanded as to all issues set forth herein.

NOTICE PURSUANT TO RULES 1:5-1{a] AND 4:17-4{c)
TAKE NOTICE that the undersigned attomeys, counsel for Plaintiff, do hereby demand,

pursuant to Rules 1:5-1(a) and 4:17-4(0) that each party herein serving pleadings and
interrogatories and receiving answers thereto, serve copies of all such pleadings and answered
interrogatories received from any all parties, including any documents, papers and other
materials referred to therein, upon the undersigned attorneys, and TAKE NOTICE that this is a

continuing demand.

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NOTICE OE T§IAL COUNSEL
PLEASE BE NO'I`IFIED that pursuant to Rule 4:25-4, Louis Niedelman, Esquire, is

hereby designated as trial counsel in the above-captioned litigation on behalf of the firm of
Cooper Levenson, P.A.

CERTIFICATION PUR A NT TO 4‘5-1

Pursuant to the provisions of 4:5-1, the undersigned attorney certifies that this matter is
the subject matter of another action pending in this Ccurt. That matter is entitled‘. M
Mai_§y§reim,,lng§pringtigid ljgiixp_a;i_ag_MaggggiiienMj_[jf§_Mil§f), (_I_’!aintii’ii vs.
MliMmmMMMMLBMaMM
International Academy of Atlantic City §Mrter School (Defendants); Superior Court cf New
Jersey, Law Division-Atlantic County, Docket No. ATL-L-14l 6-18.

DEMAND FOR PRESERVATION OF ALL QOQUME§I:§ AND RECORDS

Deniand is hereby made upon the Defendants for them to preserve and protect all
documents and records in their possession, including but not limited to: paper records and
documents, all electronic documents and records that are situated upon any computer servers that
are owned or managed or operated or leased to and by any of the Defendants; and any other
documents and records relating in any fashion or manner to the relationship between the
Defendaiits and the Plaintiff pursuant to the AGREEMENT that is identified in the body of this

Verified Complaint.

Any breach and/or violation of this demand will result in claims of spoliation of evidence
for which Plaintiff will seek compensatory and punitive damages and Court sanctions against all

Defendants.

_12.

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VERIFICATION

 

l, Peter Caporilli, as President of the Board of Trustees of the Plaintiff, have read the

Verified Complaint and certify that the allegations contained in the Verified Complaint are true

to the best of my knowledge and belief. I certify th at the foregoing statements made by me are

true andl am aware that if any are willfully false, I am subject to punishment

IN'I'ERNA'I'IONAL ACADBMY OFl
ATLAN'I'IC CITY CHARTER SCHOOL

By:

 

P`sTER CAPORILLI, resident
Bcai"d of Trustees

Dated: June 22, 2018

 

 

 

Aunmc s for Plaintiff, BOARD OF
TRUSTEES OF THE INTERNATIONAL
ACADEMY OF ATLAN'I'IC CITY
CHARTER SCHOOL

ri :ouis\%edelmam Es"quire

Dated: nine 22, 2018
CLAC 4536555.1

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EXHIBIT A

 

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(the “Agreement") by ind between 'l`lie Bonrd of'l`rustces of tlio international Acndcniy of
Atlantic City Charter l-¢h<\t?l (the “Board“) with offices iit 29 Soulh Ncw Ycrk ltozid, Suilc 1200,
Galloway, NJ 08205 n d Spring'lield Education Mnnageuient l..LC, n Dclawurc |.imitcil Linbllity
Company with an nl`ii 1`=.~at 638$ Beach Roacl, llden Prairie, Minncsotii 55344 (hci'cinntlcr
"Education l'rovidof")

PREAMBLE

WHER'EAS, 1 1a Boarrl has exacted into or expects to enter into n Cliazter Sclmo|
Contrsct, which shall senate the C‘harter- Application _or limit-lon with the ‘New lemay
Depiirtment of lamont on. to he issued effective duly 1"‘, 2015. to operate an indemnitan I’uhlic
Charter School in anne stinnes with the blow lemay Chartcr School Prngrsm Ac't o{‘; 1995,
N.J.S.A. 18A:36A-1 o soq. and New lacey Adiuinistmiive trade chem school regulations
N.J.A.C. GA: 1 1-1.1 et ina '(horoina!l.or "Ch_aitar Sc_hool l';inv") and in accordance with all-other
applicable federal and one laws;

 

WHEREAS, tie Education Provider is in the business of educating children in
accordance with the ll ucationnl Progi'am and philosophy of SABIS® Eduoational Systenis, lnc.,
(“SABIS") and is clean otis o.f working with the Board to implement the SABIS® Education
Program and l’hilosnp y at the Seliool;

WHEREAS, t to Board desires to have the Educatien I’rovider provide educational and
other services to and o i behalf of the Schnol, in accordance with the provisions of Cliarter
School Law, and any and all other applicable laws and regulations and upon the terms and
conditions hereinafter tel forth and theEdaeati-on Providei' desires to provide such services l'o the
Board,' and

WHEREAS, lite Board and Education Provider share a common vision that diligent use

oftlie SABIS® hidden ionnl System will help a randome selected, diverse group o‘f students
become responsibleci- izons with a love oflife-long learning;

WITNESSETH

 

  

NOW, 'l`ll ltlt FORI£, in consideration of the mutual ccwenantoil representations
warranties and ngrcen nut contained herein and for other good and lawful eonsideration, the
receipt of which is hci by acknowledged the parties hereby agree as follows:

l. R.lglits and 0 llgntlons of the Board.

1.1. Gnvon n note The Board shall be responsible for the oversight, but not the day-to-
day mandamus it. of the Schocl, 'Ihe Bosrd’s oversight responsibilities shdll be limited
to that which i' required by low or necessary to ensure the Education Provlder’s

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compliance wi

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h the terms of this Agrccmcrit. Thu 'Bottrd shall comply with all of the

provisions of applicable law including, but not limited to, these regulating access to equal

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own by-laws,

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itn'ittttiticti. open meeting lews, Ncw Jersey School Ethics Act, the Boitrd's
atl freedom of information ittws. ln ordcrto allow for the intimation

nil Bonrd meetings virtually, the Board agrees to make available the use
trotting-s technology et all its Board mcctings. '

l carry out its duties under this Agroemcut in such o manner as to

idcr shall lto.vc tltc seniority itt its good faith judgment to ensure such
ttptiou. Unless otherwise agreed to itt advance by the llotii'tl and the

-i.dcr, or in the ease of an emergency, Board members shall not access the
tr:tdeinie hours. This limitation shall not apply to a Boerd member whose

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tti et the school. fn such a case, tlte particular Boart-l inctubtir shall have
fairness as c`thcrpnrents cf students oi' the Sjeltcoi.. The than ii recognizes

creation of the educational process cna be detrimental to the progress of

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reset-table interference by the Board ofthc day-to-day management of the

considered a material breach of this Agreement and subjectjto the

action 8.2.1.

tiitcttt. The Board represents that it is authorized by law to' contract with
for that entity to provide educational management serviocsi The Bonrd

s and engages the Bducatitm Provlder for the purpose of providing
_tt_iuiatrative end educational services to the School more specifically

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nance of Cllartcr. Thc Boat'd has the obligation to comply with the

ttti to maintain the Cltartcr Cottu'uct, granted by the blow Jcrst:y

Ed section (thc "iltittltorizcr"_-‘), including the Ch_o.rtor Pctiliott or

c Charh:r Contraet and Cltarter School lPotitlon or Applionti_on shall

' feared to as thc "Chcrter") for establishment of an independent Public
(“the Sohool“) in accordance with n]l .New Jertiey charter school laws and

l in accordance with all other applicable federal end state |aws.

utilization with Educntion Provlder.

`.‘nt:ttplnints. Ifthe Bourd receives tt complaint regarding tiny alleged
~.ncy in any aspect of the Board’s or the Education Provider's operations

front atty perotti or cntity, cr if the Bosrd is notified by the Authorizer or atty other
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governments
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utliority that the Bosrd or the Bducation Provider is or may be in material

'f inner Schooi Law or any other applicable law cr regulation (all of the

foregoing coii\ctively referred to as “Potential Violutions”), then the Boord shall

immediately -

. tti|'y the Education Provider contact listed at the end of this A_greemeitt of

the Poterttial ieltttions-'aod provide a reasonable timetrume for the Bdtmttitoa Provider to

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report back te the Beerd. Courec'eeiy',- if the Edueatteu le wider is ther
ut tul Viclittions by any person cr catit?, it shall pwnq>tlynotit"y the Board

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i|’.rhte:: lion Provid.er shall conduct a thorough investigation to determine
tlit:.claimed violation in factexists. The Board shall t'eimondlt|y cooperate

r| Violations. Upon receiving notice from any source of a l‘.oltnninl

lou Provlder in the Education vaider's investigation of such Potentlal

Viclatlon.

[t’ the tnr'¢_i makes a good faith determination that the Bdueation l.'rov'nier is
telling to do al 7 things necessary and reasonable to investigatel rcmedy, rebut or contest
the alleged l‘;ot !tttinl Vicluiicn, then the ch'd shall provide written notice iu the
Bducation l‘r_t ider of such belief, stating with particularity the reason for hs finding and
the Partiee rhn' meet and attempt to resolve the dispute Ii` the dispute is ot lt recolvc`tl.-
the Bcard may but shall lnot lie obligated to-. separately who all reasonable notions to
investigate ::`--er toily. rebut or contact the alieged Pe'tectial Violct.ion, including but not
limited to eat-nl lirhin`g direct ecmri‘uuttccticns with the person(s) raising tim Potcntial
Violatlcn or t" tellerJ counlci tc contest the matter or negotiate a solution. 'l'ltc foregoing
ootwithslun¢-ilu . (o) the Bonrd shall not consent to thc entry of anyjurlgmcnt or enter into
any settlement _ .ilh respect to a Potentiul Viclation without prior written notice to the
Educaiion l’t.o tier, and (b) the Botu’d shall seek the Education Provlder's redeemable
cooperation in - defense of the matter.

1.5. livniust lott cf Educetion Prcvidcr. Bdueation Provider shall cooperate fully
with the Bcnrei in the Board‘s review ofthe progress of Educatien Provider towards
educating the t ri_lt|ren in accordance with the Chartm‘. Any third-party evaluation must
be performed t a crucially agreed upon cvaluatcr. Any evaluation cf the Edueation
Provider must el disrupt the educational proceas. The first evaluation under this
A,greemcnt slt 'l not commence prior to the completion of one full academic yeur.
Thcreatlcr. er uut|cns shall be conducted per a mutually agreed upon schedule

 

 

 

1.6. citation 'Enr.cllment. Education Provider and the Bourd shall work ccopcratively
in recruiting to d admitting students to the School, subject to the Charter Sohcol Law,
School Polici . and any and all other applicable federal end state laws and rcgulaticns.
Stuclcnts shall admitted tc the Sehool as determined pursuant to policies established by
the Board in el me cooperation and with the consent of Education Provider. Bducatten
Prcrider shall e`responsihle for administering t.lr`e.Bchool’s recruitment, adrni'ssions,
lottery and our llmcni processes in-trceurdooee with the policies established by the B'nartl.

 

Charter Sehoo Law, md an},f end all other epplicshlc.t'ctlemi ami_slutc laws and
regulations. ' '
1.7. chal . minn The School is a public charter school established by a charter
issued by the -" ew Jeraey Deparlment cf Edueatlon and any extensions. Th_e Bcardis
organized as a ron~pml'it organization
sam lie , __\3
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1.8. l’nysi,c -l Spaee. Tho Bonrd shall he responsible t`or finding and acquit tapl
occupancy ri;»,l_ is in the physical spaces where the Sehool will opcratc, and t'or ensuring
the physical ap tires will be ready foroecnpancy at least three weeks prior to the first day
of sehool. All anita incurred in locating facilities, including but not limitedl to snrvcyi.ng,
engineering, se tovatian, consultant eosts, and initial lease pnymcnts, shall he paid t"rom
funds nllttcstet in the Stsrt-Up Bndget, and additional lease payments shall be part ot' the
;ct. Thc Board shall delegate to the Etlucution Provider the management

te. The Edacation Provider must approve in writing all t|edisinns related
to the aeqnisiti )tl. remodeling and maintenance of the facilities The l.tdueation Pruvider
shall bc l‘t‘sjmn ihle for determining who has access to the building, including who has
keys to the hal d.ing, regardless ot` who signs the lease or owns the pt'cpcrty.

 
  
   
  
 

1.9. Name f the Schonl. The name of the Sehool shall be "|nlcruutiomd Acadcmy ot"
Atlantic City hatter Seltool." During the tenn of this A[treentent, all business eards,
letterhcad. inn lntres, slgns, press releases, otIiehd school correspondenee,lwchsites,
including socl l media sites, ctc., shall also contain the following words: “Men\her ofthe
SABIS® Sch - iNetwor " pursuant to the corporate guidelines and thc SA'BIS® Logo -
the olive tree ith the date l886. lt' Edueation l’rovidcr or another SAUISQD afliliatc no
longer mining the Sehool, the Board shall not he pertained to usc any copyrighted or
protected nam or logo associated with SABIS® and shall immediately remove and
return all item containing the SABIS® name and or logo. Shoald the Boai'd fail to
remove and set trn all items containing the SABIS® name and or logo whitin seventy-haro
(72) hours ot'_t| c Edneation Provider or other SA`BIS® afli|iate ceasing to manage the
Sehool, the liu rd shall pay liquidated damages oi` Onc Thousand ($1,000.00) Dol|ars per
day to the lida alton l'rovider. 'l`hs parties acknowledge and agree that the failure of the
Bourd to l'ctnn o andlor return all items containing the SABIS® and and/or logo within
the seve_ttty~tw hours provided herein shall constitute an adequate basis t`or a request forl
and a grant of. tjunel-ive rcllci`ft'ont a court of eompetentju:isdiction.

l.lti. I'nblic `3'. The .l:`ioard shall not refer to the Education Provlder or say entity
afliliated with he Bclueation Pt‘ovidcr in any advertising or other publication in
connection wl ' t goods or services u:ndesed by the Bdttcatien l’-rovider without the prior
written uppruv ll of the Education l’rovider.

1.11. Covert ina Board Tralntng. Pricr to the opening ofthe school, as well as on s

yearly basis a awardsi all Bosrd members shell participate in formal School Govcrning
Boa.rd training nlrsnant to NJSA lBA:lZ-BB. The cost of such training shall be a budget
item.

Rights and tit llgattans of Eduestlon Provider.
Conslstent witt the obligations of the Board under the Chartor School Lawt Seltool

Policies and any and a l applicable federal and state laws and regulations, Educatldn Provider

shall have the followit
and education of the c

    

n rights and obligations in connection with the operations of the School
tlldren enrolled as students in the School.

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2.1. Antho¢itty and Obllgatlon to Manage Seheol.

2.1.1.

tuitiool to the provisions of this Agreament, Educalicn Pm\fitlr:r shall bc

responsible limine operation of the Soirool, and Edtleation Previdor"sl\ail have the right

and obligation
(al

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2.1.2.

responsible for

conformaooe

private porscn.

the objectives
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o educate the children enrolled in thc Schcol. ']`liese dutl=s:almll lnciude:

implementation cftlre education program and program of instruction
ialn=rifienl|y, the SABIS® curriculum, SABIS® books and SAH[S®
lidm~ational System identified in tile t.‘.nartar application1 ‘ii-\elnsiv¢. of all
special education program requiteoieats, consistent with allows

rim ieuium amodarda.

1 ¥evelupmom and administration of the schooi's curriculum Fand
lettvnninaliun of the applicable grade levels and subjeota.

-loleetion, hiring and performance review of all personnel, including the
~iolmol Direetcr, and payroll ftmeticns on behalt`ofthe Bonr.d, subject to
im approval ofthe Board, such approval not to be unreasonably withheld

q

hol‘e.ssioaai development for directors, instructional personnol, and other
ilt|minislrutivo staff

Muimonanoe and operation ofthe School facilities.

-Mam,gem¢ni and administration gram school, in rosa facilities and
nwgrams.

lill extra-currich programmingl including but not limited to before and
oiler school care and programs, implemented in eonnection with the
¥oiino'l.

 

Subj oct to the approval ofthe Board, the Education Pnovider shall be
procuring the services set forth in this Seetion 2.1.2 and may, and in

ith Charl:er Seheol Lew, aubecnu'aet with public or private entities or with
. in the name ofthe Board and as set forth in the Budget, in furtherance of
l`this Agreement for:

 
   

tiood and transportation;

Floal'ediul aervices, supplies and equipment;

g;_peein| education services;

'Fousonoiion of new buildings and/or improvements to existing building

titus as Bducnlion Provi.der deems necessary for the implementation of its
pr:ogiauu,.subjeet to the availability of adequate iinaneing; and

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t tiny other services as consented to by the Board that |ltlutfnt`ion vaidor
deems reasonable and necessary to achieve the goals of the lionrd and
litiucnlion Prcvider, including but not limited to nursing, tiller-school
.iroitttttita, security, drafting requests for proposals, and drnlling grant
i"t|'tp|it:nliutll»'.

 

2.2. manlth Ottloatnes. iidnoati`ou Pntvider shall provide to the llonn'l the reports set
forth to 2.3. for the lit nni‘s retith and appmvsl,. and shall set student standards l'o`r perfhnnuneo
which shall meet or o -t.~od the minimum standards established by the liberties Schi\ol i.n'-w,
Schcol Policies, and o_ ry and ali other app|imtble i'odta':tl ami state laws and regulation t.~.. lt shall
he the responsibility o 'F.tineslion Ptvvlder that the students shall meet annually named upon
standards for ttcrl"nt-'tn two wlzi¢_=it shall provide fiat

 

v -`ull compliance with the Charter Sehool Law, the methods and
hi|osophy as set forth in the Chsrter, Sehooi Polieies, and any other
Fpplienhle law or regulationl

¢ ‘~imdont testing iu the first month ol` school using a nationally recognized
iornt-roi`t:t'cnco test to establish a bcnchmut'k. Studenls will be tested
curtin iu spring, using another form ofthc sarno teal, to determine their
unproven-tool during the year. A one month gain for each month ol` school
nnwccrt the full and spring administration ofthe test is oxpocted.

s _"ii_ndenl pl'ol‘icicnoy itt essential concepts per stll)_|`uut. 'l`hrout_¢lt frequent
testingl ns nootiet|, ns well ns |`inal exams ul tin: end oi‘eut:lt tern't, students
vil| display prolioiont understanding ul'cssonllul subject material ns
ofined by the |.idnoatiun l'ro\'lder enrriuu|tnn.

 
 
  
 
  
   

 

2.3. lloport ng by Edueatlon Provlder.

2.3.1. it|ut:aliun vahier slanll submit tnt annual report to tbc`Boarc-i before the
beginning of ii _e. followhig academic yeer, reporting its progress towards attaining student
outeemes. 'l‘lte magnet shall contain inii)mtation regarding evident achievement by grade
level on a non »roi`t'ronee test. ltduealiou l’rovidor.niay, al ita sole diaerelion, submit its

annual report l troth the Ditecl)or similar lite Attademie Quuiily floan officer.

identities l’rovitlor shall provideto the iion one quuttedy basis a
showing budget versus actual comparisons in the same format as the
budget l'-§'do lou lhovider mny, at its sole discretion submit its budget analysis through
the Direotor m or the mattress adamson In consultation with the limitation Pmrider,
the Bosrd shut engage an independent audit lion to complete the samuel audit and
Edueatlon l‘m -itier shall annuity with _sll_ reasonable requeala. The cost oi' the audit=shati
be a budget ite t;

2.3.3. ideas-firm Pinvidsr snell marine i’nl-l opportunity lb_r the tenant to observe
the Edueation 'roviclcr durational =pmeessos, review curriculan ceview'-amntoprlate

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budget analyst

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data, and meet and confer with designated Educsticn Provider contacts, provided
arrangements are made in advance with the Edueatioa Provider and provided the
educational pr inns is not disrupted, Any contact between Board Mcruhers and School
sta&`must be latin through the Bdueatlon Provider.

2.3.4. liducntion Providcr shell reporiregularly. through reports srrt)rr\illcd by the
Sehool`l tirvctr.r st Boani meetings or at other times, as necessary 'i‘be l_-Iduerrl ion
Provider will determine the representative to attend biased meetinas.

2.4. Fees. rees may only be charged le students in accordance with rr;u_)tiectrte

provisions of the t_lhzn er Seltool I..trvtl Soheol_ Polloics, and any other applicable l’o,derai ur state
laws or regulations `!\ o fees may be charged-or assumed to students by the Reard without the
prior written approval nl’ the intimation Prov`idfer.

2.5. Insnrsnre. 'l'he]iducatienServico Providerundertal¢esloruninliriuinsumnce

as listed in Appendix rt to protect the interest ot' the School and other interested prrrtics. Suclr
insurance shell be winn out by the Hdueation Service Provider lt the cost and expense ofthe

School.

 

 

2.6. t'.‘lrnrt * between the Board and Aatlmrizer. Nelther party will sier, or fail to

act, in a manner that \ ill cause the Board to be in breach ofits Chatter with the Ar_lthorizer.

3.

Budget, Fuod ug, end Compensattan to Educatlcn Provlder.

3.1. lludgct. /\I| revenues will serve to fund the operation ol'llre Helmol.
Education l’ru irler, no later than Mny .'t| ol"cnclr ycnr, or earlier it'ret]uirorl by lu-.v. shall
prepare and'pr .hl lo the liour¢l rr detailed recommended operatim_.=l budget and capital
outlay budget rr the next fiscal year (lhe “l'roposed Eludgcl"). 'l'he Ple_posed lindch
shall show eeo aren ol`oxpenditure us n separate line itom. including funds allocated lirr
use by the lion t l`or legal fees, charter renewal I'ces, hud incidental Botn'd administrative
expenses ("llr`t nd lispcnses"]. hud fees and payments to liducntion l’mvider. l`tuuds
allocated for ll ard |ixpenses shull not exceed .1»'25 pornhrdenl. 'l`he lionrd strait review
the Proposedl dith with lidueulion l"rovidur rrurl shall provide lir|ncntiuu l’rovider with
the Bottrd’s co nuonts, in writing, within lou (ltl) days ol` receipt o.l'lho proposed budgetl
If the Board n l l.`it_lneution l’rovider are nut able to agree on n liudget before the
expiration ofti enrroul lisoul ye¢u', tire last approved tindget, adjusted only to rciler:t
enrollment chu t'u, shall remain in el`l`eel until a lindgol lula been up,r'eod upon or
finalized three h tire dispute resolution process set i'or°tir lreroin.

 

If the parties it ' ve not reached agreement on the Budget within thirty (30) days of the

submission of the tire alert Budget by Education Provider to the Board, either party may request
that open issues be re -rrr~'d tro the Executlve Atla.ntie County Superlntendent or the Department
of Education on the t'o towing issues:

be effect on educational outcomes for the students;

(1)

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(2) he funding provided for in previous budgets and the nntounis actually
txpeudeti: and

(3) he projected levels of revenue and expense for thc year in is`snc.

3.1.1. `th Det`iclt. iiclueatinn Provit|or is nut obligated to cover any N'et Def\oit_
(as per the and ted financial statomcnls) ofthc Schonl. ‘l-`lte Net Delicit, in its cntiroty,
shall be thc rea arraibillty oi` the Boord and the Board shall indemnity and hold the
Bdueation l‘ro later harmless for any th Dciicit, including all costa ond atllurneys' i`ces.

 

3.1.2. 'tarl-i.lp Cests. 'i'hc [iducnlion Provider will submit to the lionel a
budget for the nticipated shut-up coats including n contingency of 15% in order to take
into account n extraordinary additional expensed 'l`he Bducation l*lnvirlcr will obtain
the consent of ' itc Board in advance for unbudgoted expenses exceeding 5% of'tltc total
start-up hodge

    

inns tn State Fundlng. In the event that there is a gap between Tuiticn
Funding tl'om .lc State and expenses incurred by the School due to the 'l.`uliion F\mding
cycle set by tit Ststc'(i.e. 'Il.tition flooding is not received on the first day rif each month
or the first day of mh quarter}, die Boand is responsible for covering the gap either using
the budget rt » ve or with a line cfcredit. The line of credit shall be with othird party or,
if third party.ft ruling is not availebie, may be with the Education Provider at the
Eduoation Pro 'l¢,ier’s sole discretion Any line c_t` credit provided by Eductition Providcr
will require a ' paiute agreement between the Board and Education Provider, and interest
will be charge . Such line of credit is designed to be a short-tenn solution and the Board
shall be rcqui - to build a reserve, or acquire a third-party line of credit. suchth to
finance li\nd'iu_ gaps, and such reserve shall be used that to finance any funding gaps.

3.2 Funding. Ali linda received in connection with the School shall be deposited in the
School's bank acorn-m . Expcnditures from thc School’a bank account shall be made only in
accordance with the lt nh_).ut (as it may bc modified by agreement From lime to time) and upon
approval in writing by the Din:etor et`the School or the Business Msnager to whom the Direetor
may delegate thil'nr -=nslhility, The Schoo| Director and one other School emptoyce, as
determined by Brtnent on Providcr, shall have authority to sign checks written on the Sehcol’s
bank aceount. A reprj senmtive of Education Provider shall be appointed by Education Provider
to be a back-up check rignntory.

Subject to uppi cable laws and rcgulations, either party may apply for and deceive funding
from private sources t be used for the benefit ofthe School. 'I`he Parties shall codperate in good
faith in applying for plicoblc t`unding; provided, however, that the Eduoation Provider shall
have final authority to approve or reject outside tlmdingr-Eduoation Provider timber agrees that
any grants received m any federal or state agency or non-profit corporation shall be used as
directed by the greene of line grant and any unexpended funds item those sources shall not be
deemed ss uncxpcndc` funds, and shall not be part of the bare upon which Bducation Provider's
fees arc calculated, no in any calculation of the Yesr End Operating Balance. It` Educction
Provlder obtains grant funds for the School and such grant hinds contain a component for

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administration lidncn ion Providor shall bo entitled to that component if allowed under the terms
ofthe grant and by I.1 ',

Thc Psrties ne nuw|etlge that ali iilnds allocated for ll:c operational support of t'ne Schooi
shall be spent in seem lance with thc Bocrd-apprnvcri Operating Budget. Signiiic:n\l line item
deviations at the obje¢ l level grcutcr then fifteen percent (1_5%) of any major line iienl, meier line
items being those win se budget exceeds fifteen percent (l .‘i%) of 'l‘otai Revcnues, from the
approved Opcrating l tiger must be approved by the Board pn’or to tiishnrscmonl, Edueatiun
Provider shall provid '_ the Boarci with all relevant information with respect to suci:’ deviation and
the Psrtics shall eugene in good faith negotiations to resolve such extra-budgetary requests. Ii`
the parties cannot rem -a nn ngrccntent, tl\e issue shall be resolved pursuant to tile procedures
contained in Pen:p.,rsp i 8.2.2 oftl\is Agrcemcnt.

  
  
    
  

3.3. Compensstion t Educstlon Provider.
3.3.1 License Fces of eight percent (8%) of total per pupil funding (ss set forth
in N.J.S.A. § 18A:36A-12} ibt the use of SABIS® pedugogioal materials
including but nol limited to emrieulum, pricing chsrts, AMS exams of
_ Mntii & English, Pcriodic exams of Madx, Englisl~., Science, Spanis|.\,
Sneinl studios, and SABIS® School Msnagomcnt' Systcrn) provided by
the Bdueation Pnovicler during the term ofthis Agrecmcm or renewal term
g of’tl:i-s Agrecmcnt (the “Llccnsc I?ee"); and
3.3.2 Mnnngement Fsss of six percent (6‘?) oi` total per pupil funding (as set
forth in N.J`.S.A. § lBA:36A-i2.) for services providcd, including but not
limited to mcti:odologics, teaching techniques, operating policies &
procedures on-going adviee, academic strategies to enhance standards,
stull distributions & iimotebllng, and academic oversight (ti:lc
“M-enagemeu`i Fee").

md_ittst the Licensc lies and Managcment Fce subject to die pprovsl of the
i$tnlrci¢-

3.3.3 upon renewal ofthe Agreemont, Edueatiou Providcr rescsz the right to
3.3.4 ,riuppnrt Scrvlees. Those services requested by the Board li'om

independent connectors may he performed by Education Providcr or
l'i¢|nention i’rovider's parent cempnuy, SAiileIit Edueationai Systcms,
lnc., provided that such services nrc included in the Approved Op'erating
klutigel. and further provided that Educslion Provider’s cost to provide the
cr\'ices arc less than The cost of an independent contractor. 'l`llcsc
services may include but nrc not limited to grant writing, websitc
development `.iT tx‘aining, rccruitment, facilities sesrch, and drafting of
liiii*s which fall outside of the Agrccmcnt. Such services will bc billed st
lidueution Provider's then-current rate and are in addition tci thc
!Meuoy,ement Fce and License Fce.

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3.3.5 till license mtd Mnnagcmcttt I"ccs and support services ii:cs. ii'any, shall
tc paid within three (3) days of receipt hy the Bonrd of any funds pnitl by
he Stete to the Boarti. The balance of ali liecs shall be paid within thirty
30) days ofthe final installment payman

3.3.6. ‘-`¢itu:sl'ion Providcr shell be entitled to reimbursement for expenses related
o the performance of this Agrcement, which arc not part vjithe operating
linn-tisch only with the advance written approval oi` the linnrr.l intend upon
"mtiiut;s lhut: (tt) the citpense was ncccssttry; and (lJ) the expense is one
lott should not he home by Hducotion Providcr because it is'heyond the
scope ot' the management services for which Bduestion Provicier is being
t-ctnpensntcci by the Mausgemcnt Fec.

 

   
  

4. 'I‘erm and `l'ct tinntinn.
4.1. Tcrm. ‘l`his Agrecment shall commence cn the date this Agrccment is signed and
end ou .lune 30“', 201 and subject tc renewal ofthe Charter end the provisions ctitltc Charter

Schcol Law and any n her applicable federal and state laws and regulations

 
 

4.1.1. }ptlnn to Renew. This Agrccment will automatically renew for an
additional 5 yca n'term, subject to section 3.3.3. of this Agreerncnt, unless either party
gives notice o : termination at least twelve (12] months prior to the expiration of the
Tenrt. If either party gives such notice but wishes to renegotiate the Agreemont, then the
parties will hci c a period of 6 months to renegotiate During this period eftime the
Educaticn l"t‘c idct‘ will continue managing the Schooi under the terms of this Agrecment
except that nn function cr action related to preparing the Schcoi for the year following
the end oi’ this cnn will be placed on hold unless and until a new Agrccment is cxecutcd.
In the event th t the parties wish to renegotiate the Agrecment, a new Msnagemont
agreement nut t be signed before Eclucetion Prcvidcr will assist in the preparation cfa
charter renews applicationl

4.2. 'li¢*:’tttil nilnll.

4.2.1. termination for Cnuso. Eithcr party may terminate this Agrccmcnt in
the event cf s t nt'teriul breach pursuant to the provisions of 8.2.1.

4~2.2. iue To Adversc Law. if any ["oderal, state, or local low or regulation or
court decision ins a materially adverse inspectors the ability of either party=tc carry out its
obligations ne c'r-tltis Agreement, and the Partios agree ss to the material adverse impact,
then either psi y, upon written notice to the other purty, may request good faith
renegotiation i'the Agrcement; and ii‘the Pm'tics arc unable to reach agreement on such
terms. after go d- faith negotiations priorto thc end of the academic yesr, then either
party may tcm inatc the Agtectncnt as ofJunc 30 unless sooner termination is required by
law.

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5.
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4.2.3. inc to Chnrtcr Turmlnst'io:l. `.ln the event that the Ulisirtel' is revoked or
not renewed, t nn this Agroement shall automatically terminate as of the date ol` the
effective date i’said revocation eroticctivo date cfnon-renewai.

 
 
   

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4.2.4. '|)nc to Adverss Co`nditions. If any A.dvcrsc Condition inclntliln;, but not
limited to, a ri winn in state funding, or ifa condition of the Chartcr makes it
impossible, in he sole judgment ofthe Bducstion Provider, for the l.`idneatinn Providor to
continue incur ting the Schooi, the Edncstion Provider may terminate this i/\nrccnicnt
upon written n \ticc to the Board.

4.2.5. Dnc to Dtssolution of the Board. In the event that the Bco'rd is dissolveci,
Edncation `i’:'n'€itior msy, in its sole discretion, terminate this Agroemont.

4.2.6. Ncitllcr party shall bc liable ii` the performance ct' this Agrccmonl. in
whole erin pint, is prevcntcd, dclnycd, hindered or otherwise made impracticable or
impossible by ‘eas'nu of any strikc, flood, riot, iiro, explosion, wru', act of Go¢l. ssbctnge,
accident or any other casualty or cause not the party's fault, end which cannot be
overcome by l untenable diligence and without unusual expense

 

4.2.7. Thc Bosrd acknowledges that this Agreemcnt: and all other agreements
entered into h wccn Education Prcvidcr, or any of its affiliates subsidiaries successors
sndlor assigns nrc deemed to be mutually dependent upon each other and a' breach of any
one np.rccn-a'-\ by the Board, may at the option of Education Providor, cr any of its
affiliates, sol diaries. successors and/or assigns, bc deemed a breach ofsny and all other
agreements be wccn the parties.

   

4.2.8.\ c-Dlsporsgcmcnt. in the event of any termination of this Agreement, the
Parties agree t int neither party, nor any of its mombors, affiliates settlor associates wil|,
directly or inst mcliy, in any capacity or manner, mnkc, cxprcas, transmit', sposlt, wrltc,
vorbalize or ot tot-wise communicate in any way (ur causc, iiirtl\cr, assist, solicit,
cncoursgc, san port or participate in any ofths foregoing), any remark, comincnt,
mcssage, infer nn|iun. tlcclnrntion, communication cr other staten‘¢ent nt` nny kiml,
whether verl:n . in writing electronically tlnnsferrod or otherwisel that might rcnsonnl:ly
be construed t bo derogatory er critical ol`, or negative toward, thc other or any il`:=
respective t|ir :iors, officers nfl`l|iates, stlbsidlnries, elnployees, agents or ropmsenlntives.

Notwithslancli in the foregoing, nothing in Section 4.2.8 cr elsewhere in this Agreoment
shall prohibit ill\cr party from making any statement or disclosure required by local,
state cr i"et|cl'al law or ordinanoe.

Employecs.
Toaehers antll Stnt’f. The Bosrd shall be the employer of all personnel but shall delegate

all personnel function t to the Educat'ion Provider, subject to the approval of the Board and such

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approval not to be uiu- summit-ly wilhhcld. 'l'he-F.dueutlon Provides shell provide tl'\c following
personnel hinetions: 1. selecting h'lrhtg, bislning, munging,.revlewlcg and ammunition all stuff
associated with the llc ml. including without limitation its teachers and all udmlutsu olive and
support stafl`, establish up personnel policies end procedurcs,-und deucmiluln_g muller end stuff
compensation_; 2) dole _uiuiuu the number cf teachers and the number cf support sluf'l‘ required
for the operation oi'ul _Scluuzl moment to thc't.`.hcm‘r; mut ill selecting null liu log such teachezs,
qualified in the gte_d_e weis and subjects roquircd, end supme stuff us ute needed lo con y uul'
the SABIS® l'.h|uouliu_ ml Syalom u'l` the Scl\uoh Auy cmploymem decision that impacts the
tenure of any staff mci user shell require approval of the Bmu'di such approval not m be
unreasonably wilhlu:l¢ t

' . end professional support staff shull hold appropriate Ncw .l'crscy
certification pursuant o_N.J.S.A. 18A:36A-l4. Sucll teachers and suppcit staff lnuy, ut thc
discretion of the l'i¢.luc. lion Provldcr, work at the Sclu)ol on a full or parttimc busis. Euch
teacher hired or retain d by the Eduoation Provider shull hold u valid touching corll'lloulc issued
by the state board of ucaliou, if required hy law_, and all teachers and staff shall l_mvc
undergone a criminal ¢',kgrouud check and an unprofessional conduct check, as required by
Charoer School La.w u d other applicable state and federal lsws.

5.2 Scliool Dlroct r. 'l‘he Board shall he the employer ofthc Schocl Dlrector but shall
delegate all personnel fit-motions relating to the employment ofthe School Dlrcclorlto the
Bducatlon Providcr iu -Iulllug selecting, hiring, training managing, reviewing, determining
compensation and le ' electing the Selsool Director. The Eduontlon Provldor will h;avc the
authority and respousi clilly of holding the School Dircotor accountable for the success of the
School. The School D. motor shall report to the Education Providcr and not to the Board. Auy
employment decision lam impacts the tenure ofthe Sohool Dlrector shall require approval of the
Bocrd, such approval ot to be unreasonably withheld

5.3. Tralnlng. 'l'h Etl\\cation Pi'ovidor shall provide training in its mclhods, curriculum, and
the SABIS® llduoallu ul Syulo\u lu nll personnel uu n regulur null continuous hcsill. or us
deemed necessary by llc l"-.duculiuu l’luvidcr. Al| personnel shull receive such lmiuiuu us the
Bducaliou Providcr'd et'l'uiuos as lclmollub|u null ucuossury umlcr ('lu: circul'usluuccs, or us
required by Charter 8 hoo| Lo.w. Tralm‘ug shell occur cri-site or st locations to bcidesignotcd by
Educstlon Provider, u Bducation Provider’s discretion Expenses for training and=seminers,
including travel and l .. .uing, related to the Sehool shell be a budget ltcm.

  

6. Proprletory l_ l'urmutlnu.

6.1. l-lducu- lou Provlder‘s Prlor nghts. The Board agrees that Eduoaiion Provider
has the licensing right for {a) ull trademarks, copyrights and other proprietsay rights developed
prior to the effective cfc ofthis Agceement, and hereinafter subsisting or created in its
inemwtional material \ training materials, methods and other materials developed by Educatlon
Providcr, its adlllates including but not limited to SABIS® Educational Syatems, Inc.) their
employees, agents or ll:co\umclors (tc the extent such individuals are legally or contractually
obligated to assign or love assigned such rights to Educatlon Provider or to SABI$®

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ill _l'\\-\‘.'l\:‘
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Edttcational Systems, _ -no.).; nntl (h) such other similar instructional t.nttterials, l't'ttit'titn_; tnt\lericls.
methods and other nut lninth that may he developed ct Edueotion 1Proviclet'_eitctt cr sites ul'
Edueacion Provider all ;|iislccl cnthit:e, which itt protected by law {“liMiit-l® l"ropriel:try
Ini`onnation"). lJurinp lite tenn ol"thia A|p'eement. liducatl`cn Provider army idemil`y and disclose
to the School SABIS lioptictnry information including thin which itt enormity in existence us
well as that which nut;' he created in the intuie.'

6.2. l.i_t._-t'n_en to Bottrd. Executlon of this Agrccmenl, shall give rise to tt rcvoenltlc,
limited, non-ctccltte_ivt*, non-transferable license, l'or tltc use of SABIS Proprietary lnFonnution to
the Board for the put p inc of operating the School's SABIS°“ Edttcntlonnl Syslem, intd Bductttion
Provider shall be paid t fcc therefore as provided in Sectlon 3.3.1. 'i‘he Boun:l sltttll be separately
charged for books cut conetuna.ble materials provided by thc Educatlon Provldor tit tito Scheol,
even if such books mt consumane materials contain SABIS® Proprictary lnl'unmttion. Bxcept
to the extent innocent for implementation ofthitt Agrecment', tlto Bonrd shull not disclortc.
publieh, copy, trnusml . or utilize SABlS® Proprictnry Int'omuttlon during the term of this
Agreement or at myt ice alter its expiration without the prior written approval of llittlucntlon
Provider._

 

 

6.3. .ielntl . Developerl Proprietnr.y lnformltion ("Dcrivntivc Wcrks”). Derivotivc
Worlcs may only be ‘ ted with written permission ofEducaiicn Prcvlder, lnclttd'lng any and all
curriculum or other c sectional materials which the Board may wish to develop using port or all
of SABIS® Ptopricta't_ Infonoution. Any such Derivative Worlts shall be considered SABIS®
proprietary intitmttttl end treated in accordance with Paragraph 6.1 of thls Agreement.
Educution Provlder w | not claim as proprietary any ctn,‘riculmn. or other educational materials
developed and paid i‘c - by the Board, provided that such materials ore developed wholly
§:fdependently end wi tent the use, directly or indirectly, ofany SABIS® Proprletary

ormation.

6.4. E¢luca lou Provider Wnrrnnty and Indemnil“tcntion. Bducntion Provider
warrants that it has all necessary rights to license the S.ABIS® Proprlctery quommtlon to the
Board. Bdttcatlon i"ro idcr shall defend at itc own cost any claim or action against the Bottrd or
the School for lnli'lng_ nt:nl ofany patent, copyzi'ght, trade secret or other proprietary interest of
any third party based port any materials finnielmi or licensed hereunder or upon the Board's or
the Schooi’s use of itu .h furnished or licensed materials. Eductttion Prov'ider further agrees to
indenmit§/ and hold th Boa.rd and the School harmless nom any and all liabilities, tosses,
damages, costs addict moses associated with any such claim incmred by the Board or the School
including reasonable tomcy's fees, If atty SABIS Proprlctcry Int"ormtttion and!or other
materials furnished irc _mmlcr irs/ere involved itt such claim or notion are held to constitute
infringement and the t se thereofin enj oined, Education Provider shall at its own expense: (1)
procure for the Beard ltd the School the right to continue using such materials; (2) modify the
materials to become n -itt-ittti'-iu£tiug but hinctionally equivaleot; [3) replace such materials with
equally suitable and ii nationally equivalent non-lnninging materials ; or (4) grant the Boord an
appropriate rcfund.

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7. Propcrty ( two crsllip.

7-1- Wifh 1`\ N!”'¢*l w pfbp€t'ty uequisiticnl, the Eduoation Prcvide_r has nn obligation to
act in the best interest 'ri'the Schuci. Ai_l property ptm>hsscd through the opel uli\ u'. Bttdget with
funds the Board may = ~'ccive pursuant to Chartcr Schocl Luw, edler then hinds which accrue to
Educatlon Providcr (ir elu¢liu;;. but not limited to, the fees referenced in i'rcngr'nph 3'. any
reimbursed intimation i?xcvldcr expenses lease-payments end any hinds redressed under s Line
of Crcdit, if nppllnnht ), us welles ti.mds the Bonrd may acquire through government or private
grants or dcnations, st sit remain the property of the Bcarcl.

7.3. All no trocts. whether with public or private entitics, shall be entered into
whenever possible in he name oftllc Beord or Scbocl, ns appropriate Educntion l’rcvider shall
not be required to dir ~tly enter into any contract. Furtlmr, Bducation Providcr shall not be
required to guarantee my contract entered into on behalf cf or by the Schocl or the Boord. Any
contractor lease wide Educaticn Provider enters into for the usc ofproporty, whether real cr
personsl, for the Scht il shall includc, ti'possible, o provision that thc contract may be assigned
to the Board. Upon tr utinltion of this Agreemcnt, and in the event oi' subsequent dissolution Ol'
Educsticn Provider, n l property which Bdncatinn Prcvldcr might lease, borrow or- contract for
usc, shall be pronipti. returned to those organizations or individuals from which lidnentiun
Provider has leased, 'owed, er contracted fur the materials unless the Board votes to assume
said contractor lesse, unit then Educstion Providcr shell assign said contract(s) or tease{s) to the
Bosrd, if possible. Al conn-acts shail, when pcssible, also include s provision terminating the
contract upon ten-nine inn of this Agreernent at the option of either the Bosrd or E'dueation
Provider, but in no cv nn shall the contract mccedthc term of the citation unless prior approval
is received horn the l ourti, howevcr, either party may elect to continue and assume the
obligations of the con unit

'7.3. All ne uisitions that, due to the Board’s inability to purchase or finance, are
purchased by the thin ‘uticn Providcr with non-Sohool hinds including, but not limited to,
instructional eultcc'ici . cquipment, supplies, fumiture, computers and other technology, shell be
owned by and remain thc property oi' thc F-`.<incuticn llmvider. Any property purchased with
ilmds advanced to th l$ooni by the ltducntion Providcr under n Line of Crcdit. note shall he
considered collateral util the note is rc_pnid. Thc Bourtl shull execute any documents required
by the Bducstion l*ro trier to secure the collatcrel, including but not limited to any security
instruments including bul not limited co n noto, security agreement and UCC settlementl

7.4. Upon n minnlion for any rcason, all property which has been purchased cr
Jrlnnnccrl by the Hducl titus Providcr with its own funds, including but not limited t_o the funds
paid by the Board to 1e Edncation Providcr for License or Management Fecs under this
Agrcement, will reno n the property of the Education Provider.

1.5. An psr perry owned personally and/er indemnity by ne teachers hammett-ann

and support staffshsi remain the property ofthe individual teachers and sts£f. Snch property
includes, but is not limited-to, albums, non-Education Provider curriculum manuals, and personal

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montoan and other sister isll.l or apparatus that have been personally financed or piol'sonully

dovelopod, without lli'l-

B. Amendmentl, ‘t‘».-rlnimltilm for Cause and Dlrpute Resolulion.

.~r\ or indirect use of SABIS® Propr'lety Int`onrtotion, by teachers or staff

l
l

8.1. Anumrllucnts. All amendments to this Agroomont shall be in writing executed by

both parties

8.2. 'l‘ormtear_lon for Ceuee end Displitc Reeoiution.

8.2.1.

i‘crmllml'|nn for C`nuse. Eitllor party may tenniuolo this Agl'ocml:ut in

the event of a material breach pursuant lo tile provisions of 8.2.2 bolow.

8.2.2.

Dlslluto Resollltlou. if either party al any time believes the other party

has committh a material breach of thc temls oftho C|mrter, Chnrter Sol\ool Law, any
applicable low or rogulstion, or this Agreomout, notion shall be given in writing to the
other party as provided in Seotlon 14 stating in detail the nature of such violation 1.

Thoreaftor:
(i)

cil)

(iii)

fiv)

'i`h_c parties shall meet within ten (ill) days oftho notice, unless the parties
ore otherwise required to meet sooner in the uotioe, and such meeting shall
bo attended either itt person ut the school or by telephone or video
restoration by individuals with decision-melting authority regarding the
lilsputo, to confer ss to the violation audio good faith ettemptto negotiate
a mutually acceptable romedy.

ill within thirty (30) days alter the written notioe, the partial are unable to
agree to a mutually acceptable rcmedy, the parties agree to submit the
dispute to binding arbitration in accordance with the Commercial
Axbln'ation Ruies of the American .A.rbitration Associalion. The
arbitration shell telco place in Now lersey end bo governed by the laws of
the Stotc llwa -Jorse`y. Thjc arbitrator shall be jointly chosen by the

` Bosrd and the B¢lnsrrtlon Providot. Ajudgm_ent upon any rivera rendered
may boode ill amy court having jurisdiction thoro_of. §
themeer out more l determination wrote nom ali says or em
matter being-brought before the arbitrator lt’the arbitrator determines that
(1_}'_ono party has materislly btoopilod the A,greemon't aud.tliat (2)'- the
breaching petty elthor' cannot or million to may the hmoh, the now
brth party meytermi'notc -_tl_to_ Agm_bm_ont upon thirty (303_deys
written notice and recover actual damages

Escll Psr`ty shall iac responsible for all equal shore ottho oost of the
lirbitt'atot"£ ibds md expen?iol. How¢v‘¢r, mh-Party shall be solely
responsible for any expenses incurred by that Psrty's'requept for additional
wimcas'os-,repreeootetion, or services f`

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8.3. School it c"oot'tlit. Upon expiration or termination of this Agreemcnt, oil Sohool
records, including so deal rccords, employee tiles, financial documents and ali ethel records
otherwise defined by nunc law shall bc retained and thereafter maintained by the Boaid. Thc
Edncation Provider n sol make and keep copies oi' the records to the extent permitted by law. la
the event this alarcon col is terminated for any reason prior to the end of an academic year, tile
Edncation Provider s call also have thc right to engage an independent audit linn to complete on
andit, in accordance tilt Generaiiy Aocepted Aooounting Principlos (“GAAP")_, ami thc Boerd
shall comply with sit reasonable requests T|1e cost ei'the audit shall be shared equally by both
parties to wis linnan ann

 

9. Indenlnil'testi n.

9.1. Uniels that-wise provided herein, the Board and Eduoation Pc'evii_ier agree to
indemnify. save audi lit-l harmless each other from and against any end all claims, aliegatiens,
suits, finee, penalties,` ' pensos, costs, liabilities, and damagcs, whether in eontra'ot, tort or
otherwise arising out l`or in connection with each party‘s performance of its particular portion
of this Agrecment by reason of its scta, inaction, omissiona, negligcneo, reckless o"r intentional
conduct except and to the extent such losses arise out of the gross negligence or willful

 
 

respective legal expel sea end ccsts, including attorneys' fees, The right of indemnification
under this section alia l be in addition to and not exclusive of all other rights to which any
indemnified party rca ` be otherwise entitled by contract or by law.

9. 2. No Wa vcr to Thtrd Parties. The foregoing provisions shall notice deemed a
relinquishth or wai ~1 of any rights or immunities ofthe parties to third parties.

10. Non-Dlscrlm ntlon.

The Board an Edncatien Provider shall comply with eli applicable federal and state
stanttes, rules, ronnie cas and orders dealing with diserinnnstion.

11. Protesslonal "ocs and Expenses.

anh party sit l bear its own expenses for logal, accounting and other focal or expenses in
connection with the n imitation ofthis Agreement.
12. Student and ‘inanclal Reeords.
All financial 1 ~co¢d): and educational records. including student records, are records of
the Board and shall lr- kept on-site or electronically accessible on-site and be available, subject
te any and all applies to laws, for authorized inspection, pursuant to local, state and federal law.

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upon reasonable ‘n~ntt st. St.tcit records are subject to the provisions oft|\o l"ntttily.iitlttcalinnt\l
Righttt and Privaoy A t (“FERPA") and the applicable state I-’rocdom of information and/or 0 pen
Ret:ords Act. Thc t-lo rd-¢lcsignnt.ct: the employees ot` the E<lacat.ion Provider or l.i_r]\tcmton
Provider affiliates ss seats ofthc Boerd having a legitimate educational interest solely for the
purpose of entitling s1 eli persons access to education records under 20 U.S.C. §l?.'.'»Zg, thc
Family Educstional R' glus and Privney At:l (“l"`ERl'A"}.

13. Goveroing lt w.

This Agreen tt shall be governed by, subject to and construed under the laws of the
Stste of New .lersey. . ny legal actions prosecuted or instituted by any party under this
Agreernent shall be bt ttgitl in a court of competent jurisdiction located in New .le't,'sey end esch
party hereby manuals to the jurisdiction and venue of any such courts for such purposes The
parties knowingly un voluntarily waive any right either of them has to a trial by jury in any
proceeding which is i any way connected with this Agreement or any related agtoot'ncnt, or the
relationship establish ct under them.

Any notiee, d need or request from otto party _to any other party or pat't‘tos,hercundcr
shallbe deemed to int o been sufficiently given or served for all purposes ii`, and lis of lite dnte, it
is delivered by hand,\ ventight co uricr, facsimile (with confirmation) or electronic mail (witlt
eonfirmation) or Wiiit t three (3) business days of being sent by registered or certified mail,
postage prepaid, to tiag parties nt the following addresscs:

To: lizhwntior Provider Maneger

Springt‘teld Educst:ion Management, LLC
6385 Beach Road

Eden Prairie, MN 55344

Copy to: Aeseoiate Gencre.l Counscl
SABIS Educstionsl Systems, Inc.
6385 Beach Road

Eden Prairie, M`N 55344

To: Board Peter Caporilii

29 South New York R.oad
Suite 1200

Galloway, NJ 08205

Copy to: Nestor H. Smith, Bsq.

29 South New York Koad
Suite 1200

Galleway, N.I 08205

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14. Waivcr.

No waiver cfs ny breach of this Agreement shall bc held al c waiver of any other or
subsequent breacb. '

15. Countcr_;t:u'ts Signature by Facslmlle.

original Agreementat d become effective upon Bosrtl approva-l. A signature tleli\{erctl by

This )‘\pn'ccmcltt` may be signed in counterparts, which shall together constitute the
facsimile shall be cna idorcd an original for purposes of this Agrecmcnt.

16. Assignahlilty.

  
  
  
   

 

This marcus tt may not be assigned cr delegated by Edueation Providcr cr by the Board
without the prior writ u-eonsent cf the other such consent not to be unreasonably iwithheld This
Agrcement shall be et forceubic by, and shall inure to the benefit of the parties hereto and their
permitted successors nd assi'gns, end no cthers.

17. Coniiticui[uli }'.

17.1. Each trty hereby acknowledges that by virtue of its entering into end performing
under this Aurccmcn it will generato, be exposed tc and have access to the Conii’dentist
Infonnation of the oil tr party, as such tennis defined in subsection 18.2 below. Unless a party
has obtained the cxpr ss prior written consent of the other party, under no circumstances
whatsoever, unless.nt unwise required by law, shall a party at any titne: (i) communicate to any
person or entity (cthc titan tltc.otlter pcrty] any Cuniidcntial lnt`ornmtion; (ii't permit access by
any person or entity ( tith than tltc other purty) to any Conlldcntial tni'ormation; or (iti) usc any
on for such party's own account or for the account o't' any person or utility
(other than the other attvj.

17.2. Fot pa poses of this Agteetnent, “Conftdenttal lnformaticn" shall mean (i) any
t`tnancial, business,. n _` tuttisg, software epsteticn.tt, t‘an'vicz‘.'sl potential s_ervices, ‘pwttucts.
potential products, dc :igns. technical intersection and/cr itncw~hcw, formulas prc§duetiou,
p\u'chaaingl msrkctin esies, pcrttonnel. customer.-brciter, sappiicr,-cr outer intunnattmt of any
party: (ii) any papers, dana records, processes methods techniques systems nutdcls. samples,
devices, equipment,` "tttpilations, invoices, customer lists, or documents cf any perty; (iii} any
contidential int`onu`ett -)u or trade secrets of any third party provided to any party in confidence or
subject to other use o disclosure restrictions or limitations ; and (iv) any other information
written, cral, or elects aalc, Whet.'ltel existing new or at some time itt the B,tt_.tue, whether
pertaining to concur t- rmtarc developments and whether previously accosted by hay party or to
be assessed dating it acute accusation with the ctaer'avrc. wit-icb surmise w inch each

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affairs or interests or t ‘lil't whom cr how such party does business. Each party acknowledges and
agrees that t'.'entident' l Ini`ormaticn does not include (i) information properly in the public
dcmain, (ii) informed n in either psrty's possession which does not pertain to the business cl` the
Board cr of the tuition ton Providcr.

lB. Severability. l t the event that any provision of this Agrecment or the implication thereof
to any person or in an circumstances shall be determined to be iavalid, uninwt`ul, :cr
unenforceable to any atan the remainder of this Agreement, and the application pt such
provision to persons c circumstances other than those as to which lt is dctcrntinct|, tc be invalid,
unlawful or uncnt`ni-ec \blc. shell not be effected thereby, and each remaining provision cf this
Agt‘¢€ment shall conti inc to be valid and may be enforced to the fullest extent permitted by iaw.

19. Worrantles c d Representations. Both the Bonrd and the 'Educetion l‘rcyiclcr represent
that each has the auth rin under law to cxccutc, deliver and perform this Agrecn\ent and to incur
' -t| for under this Agrecmcnt, that its actions have been duly intd validly
authorized, and that it will adopt any and oil resolutions or expenditure approvals required for the
execution of this Agr _n.\ent,

 
 

20. Pl‘eamble ell Heeding. 'i`he Prcamble is a general statement of purpose only and not a
term of this Agrcemcr t. lt does not affect in any way the meaning er interpretation of this
Agreemcnt. The heed - ns of the sections ofthis Agreemen‘t are for reference only 'und shall not
affect in any way the l reciting cr intcmretaticn of this Agteement.

21. Ent-ire Agreet tent. This Agreerneut embodies the entire agreement end understanding
between the Parties w tit respect to the subject matter hereof and supersedes all prior oral or
written agreements en 'l mdmwndlngs relating to the subject matter hereof. No stetc¢nent,
representation warren ty, covenant-or umw of any kind net carnessiy set i'crt:b in this
Agreen:tent shall ci“l`ce' . or be used to interpret change orrcstrict, the express terms and
provisions ofthis A[c"‘cmcm. Any modification of this Agreement must be made in writing, be
approved by the linnr-:‘ end Educaticn Provider, end be signed by a duly authorized officer, agent
or attorney of the l’art ct-.

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'l'hepmios are signingthis months date stated inheinh'oducbory clause.

Peter Caporllli, Board Preddont
Boud of'h'ulteeu of the Intemndonal Academy of
Atlandc City Chartar $ohcol

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Prhnary contact for allmatteranotmquiringfbmalnodosunderseotion 13

Georgo Saad

6355 Beaoh load
Bdonl'ra!rle, MN 55344
gm¢l@aabia.n»ot
952-918-1850

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Employers' Lleblllw

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The Sehoo| iNamed insure i!,_shali include as Addltlonal Narned lnsu rod, the Educatlcn Provlder ai'ld es Addltional
insured SAB|$° i-r|u_t»lmm' lSvstems. lnc. end the State Charter Authorlzer on ALL Llabl|lty policies on a Prlmary
Basls with SABIS° and Ste ' Cherter Sponsor policies being non-contributorv.

The L|ebl|lty and Wnrkars'.

compensation policies shall ha endorsed to provide e Walver ofSubroliol'lon to the
Additlona| lnsured.

 

 

A 30 day Dlrect Not|ce of - `rsco!iaslon, Non-nanawal cr Moteds| Ch'ange endorsement is sequiredicn all policies ln
favor of the F.ducatlcn l‘u ' ¢:cr, the Sehool, SABlSE' end the State ChaderAuthorlzer.

The only acceptable form cr providing proof cl insurance ls t_lie ACDRD 25 S Ce_rtlilcate form wltii attached copies
of additional lnaured, wal` .-r_; cf suhmetlcn and Canceliet|on endorsements

These requirements shall v mandatory unless the state Charter Authorlzer includes more stringent requirements
with additional coverage ¢ r higher ilmlte. in such ceso, the moot stringent contract requirement shall prevell.

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EXHIBIT B

 

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}L_‘»', '::§ CAPEHART Sa_nmolhi Dev
£"'_H_':_-'_ T.: SCATCHARD =g:§§§:§§§§:=§§n

fl`l'|i.'lR.’iEY'] A\' .A\“.-` June 18 2018
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Vin Hrmd De!iverg

Amorican Arbiiration Assoolation
Cese Fi]ing Servicee
1101 Laurei Oak Roed, Suite 100
Voorhees, NJ 08043

Re: SABIS!SpringHeld Educaticn Managcment Ll.C - C.leiment
Board ofTrnstees of the International Aoedemy ofAtlentic City Cherter School -

Responclent
Our File No. 04910-31830

Deer SirfMeclmn:

Please be advised that this office represents the Cleimant, SABIS/Sprlngiield Edueation
Manegement LLC in the above-referenced matter. Enolosed for filing please find two copies ofSABIS'
Demend for Arbitretion. Pleese return one oopy, stamped as tilecl, in the self-nddressed, stamped
envelope provided. The original Dem-encl has been sent to the Respondent. Also enclosed is my f`n'm’s
check in thr-‘. amount nf` $S_Snn renreetentjng the filing fee.

Should you have any questione, please do not hesitate to contact me et the offioe.

Very truly yours,
CAPEHART & SCATCHARD, P.A.

jle

Senmaihi Dev

SD/emc

Enc.

oc: Boerd of Trustees international Academy of Aiiantlc City Charter Sehool (w/eno.) (l`/in UPS
0vu)‘m`gh! Delz'very)

Dr. Peter Ceporilli (w/enc.) (Via UPS Overm‘ghi Deiivery)
Merk G. Sohwm'tz, Esq. (wleno.) (Vr‘a erlaaii)

Jonai.han Emro, Esq. (wienc.) (Vicr emar'!)

Lynn Spamplnato (w!enc.) (Via erneii)

lose Afonao (w!enc.) (Vin emm'i)

Annn Dosen (w/ene.) (Vr’a emaii)

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856.9.34.6800 Main I"ux 856.235.2786 WC flax 856.439.3168 www.cnpehart.l:cmt

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For Consumer or Errrpioymeni cases. please visit www.ed[.org for appropriate forms.

‘rou are hereby notified that a copy or our arbitration agreement and this demand arebeingrh|e:dwiur rhe-hm"er|cen Arbitraticn Assor:latlon with a request that il commence
administration_of the arbitration The MA will provide notice oi your opportunity to file an answering statement

Name ¢lri Raapondent: lloard of'i‘rustees ortho Interrretionai Acaderny el Atlantlc City Ciiari:er mm of quregenguv° ar known); Mu-k n, schwarrz, Ecq_
Schoo

cable): Ccopor Levenson

 

 

 

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carreon-nrs idl}c;='l'r§§ suarez signal '
C|ty: Egg Harbor Township . J__- | StaoeN; H|"Zl'p-Code: 08234 Cityr Ai:leni:ic Clty n - Sia't;m* BpCode: 08401
non No.: coonce-esso ` rex nor o " in n mm ' shore non sonam-sr`z-~rsriel " rex no.= coo:”s“rrz»r$ "

 

 

Erhai| Addrees: |aac®sabis.net Emeil Adciressr mschwamomoperievonson.eom

Tha named clelmant, a party to an arbitration agreement which provides for arbitraiion under die Commorcia| Arhltratlon Ru|es of the Amerlcan Arbltration Associadon, hereby
demands arbitration

-Briaf Deacripiio`n of the nhpuoe: Clelment, springfield attention Monapemeoi; Li.c, provides education managenrentsereieoc'i_n accordance with the program
lend philosophy crow Ea|ueai:iorrei systems, i;nc., to the keenanth international Academy ol'Atiar.rticcity charter school, e public charter school in
'riew'Jerswol'slnlned under New .'Icrsay charter Schooi Propram-Aor., NJ.S.A. a-ea.-raeA-J. at seq. in accordance with sections of the Educatlon service
Frcvider Agreemerrt (“Agreertrenl:") between Cleimerti: end Respondesri:, Cialrrrani: provided kesporldent'i counsel W|i.h W|'l¢|ie|'l I!°UMr dlf¢¢| Mli' 17¢ 2913»
ouulrilng allegations of material breaches oi' tire Agreement, ` as well as the Sr:hooi Ethics Act, Cherter school l.ew and other laws/regulations governing
public charter schoo|s. The peri:ias were unable to resolve the dispute amicably within the 313-day period, and thus, claimant seeks binding arbitration
pursuant to Section 8.2.2. A copy of the Agroemont la attached hereto as “Exhibltl.."

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i\l'tomey's Fees Intarest Arbitretlon Cost.s
Punlrlve/ Erter'nplery etherr Equitable remedy irc remove
current Beerd of Trusoee members end allow Ciaimant to
manage the charter Schooi pursuant to the Apreei'nerrt

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mount enclosedr s 5,500 in accordance with Fee Scheouie: standard Fee soneoure

 

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i;leaao describe the qualifications youaeei: for`arblo;a.tor(s') to be appointed to’hear this dispute-tt gain Jorse;schoci law and/cr charter school law experience

 

 

Hearing ioca|e: Mt. Laurei, New Jersoy {chock ons.i Requesiad by Clalmarri. Locale provision |nciuded in the contract
E“|mated time n'eded for hearings overau: Type of Buslnose: Ciaimantr Froir|der of Manegenrerit Servicea to
3 days Charter schools

_. RBSP°"¢¢'!',=.‘~`.'~P'*£!§=_*'€°'

 

Are any parties to this arhiir'ation, or their controlling shareholder or parent compeny_. from different countries than each other? No

 

 

Slgnature (rriay be signed by a representative): '-i?. __¢Lr'_ l Date: Jr.rne 18, 2018
Name cf Cia|mont: Springfiold Education Monegemeni: LLC l Neme of itepreaentatlve: Joseph F. Betiey, Esq. ar Sanmathl Day,

-.. . -.... - -_......_..........m,.......... ...._...__.. ~ ,¢ ..M_. . -- _,_., ......__._......_,._. _.`_.. _____. Esi.'sc._.___s_.....-r._.._. __ __ . ...,. dee .,.L-,_-
Add ross (iro pe used in connection with this case): 6385 Beaclr Road l Nama or Frrm (rf app[rqb]e); capehart searcher-rn p.r\.

 

 

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comment andrew soon nrrrranrie anna anita sons

 

 

 

 

 

 

 

 

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PhoneNo.t 970-406-0397 7 Fex tio.i n phone No.r 856-234-8800 n Fax No.: 856-238-27@8
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To'treg|n proceedlnps, please send a copy of ihll bertrand and ihe Arhltraoion Agreemer\t, alonger the hilng fee as provided forin the Ruiel, tor Arnericari Arbltratlen
Aseodatton, Cese Fillng Senrioes, 1101 Laurai oak noad, suite 100 Veorhee¢, NJ 08043. At diesame time, send the original Dernand to the Reepondent.

 

Pleaao visit our media at mm

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EXHIBIT A

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Education Serviee Poovlder Agreeruent _ L

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'Servico Provider Agroenrent` executed on this t _ ` BWM, ' 3+_;__
d between The Boaro of'l`ruswes o£drolntornatioual Aon of , /(.,-/,f_. h
Atlentlo City Charter - nol (iho ‘f_Bo_ard") with:oil°ices at 29 South blow Y'orit.Ro d, Stt'ite 1200,

GEHOWRY. Nl 08205 ar Spriugllold I!cluoatloo M-enagmnent LLC-, aD'elawaro' Liig:iwil.' Llabllity

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Corrtract, which shall f elude the Charter Applloation or Peiitiou initio the Now I try
Doparlmcnt o£Bduoc r on, to tro issued effective duty i**, 2015. to operate an iorio
Cherter Sohooi in a ~ -rdenoa willrthe New lot-toy Chertcr _Soheol Progxsm Aot'
N.J.S.A. lsA:S€A-l 'o aeq. mud New lemay A(hnin_ieii:etive Gode ohartcreohool~ _ ietlona,
N.J.A.C. 6A:l l-l.t et -: w (herelnanaer “Charirer School Law") and in accordance ith all other
applicable federal and state laws;

WHEREAS, o Erluoauon Provi`d_ru‘ is in the business of educating ohildrenin
accordance with the t 5 sectional Progrem and pintopr of_BABIS® Bduoatiooel Systoms', Inc.,
("SABIS”) and ia d ~ : ofwotltirrg with the Board to implement the SABIS®'B<luo'atiou
attire Solroot; ‘

WHEREAB, ' Boerd desires to have the Bduoellon Prov_idor provide educational and
otlrorsorvioee to and -' r behalfnt`thu Sol\ool, inaooordanoo _wii.h the piovisioneo£€hii:wr
School Law, and any nd ali other applicable laws end regulations and upon the coram and
oonditio.::1 hereinafter et forth end the Ed_uoatien Provlder desires in psovltiosuoi_i services to th'e
Board;

 
  
 

WHEREAS, _ o Board and Bducarion Provider share a common vision that diligent use
ofthe SABlS® Edjnoa noel System will help a randome selected, diverse group olf students
become responsible cl . zone with a love ol`llfe-long learning

WITNESSETH

NOW,` TIIE " ' mRE-, in consideration of the mutual oovenants, representations,
warranties and a ' »<=» l ts contained herein acid for other good end lawful consideration the
receipt of which is he r y aelmowledged, the pardon hereby agree as follows:

1. nghts and 0 -Ilgstions ot' the Board.
t 1 unu. The Boord shell he responsible for the oversight butnot the day-to-

day -» = 1 -»- w , ofthe Sohooi. TheBoard's oversight responsibilities chill be limited
to that aldrich l required bylaw or necessary to ensure the Educaiion Provider’s

   

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compliance wl _ the terms of this Agreement. The Board shall comply wl all of the
provisions of-a o licable law including but not limited to,`those restricting ' to equal
educational op `- enunldes, open meeting laws, No_w Jcrsey Schcol Ethics ' the Board's
own by¢iaws, d li‘e`edom of information lews. in order to allow for the ‘on
Provider to en . t Board meetings vinnai_ly, the Bosrd agrees to make avai hlc the use
of video ~.\ s cing technology at all ita Bourd meetingsl

The Boardsh'n l carry out its duties underthisAg.-ecmentinsuch ama ' ss to
minimize die -':1~- on to the orderly functioning and administration ofthe S -ool, and the
Education ' * ' tier shall have the authority in its good faith judgment to ' such
minimized di don. Unless otherwise agreed to in advance by the B and the
Bducstlcn ‘ " -dee', or in the caseofsn emergency, Bcsrd members shall ct access the
School during cadetnic hom's. This limitation shall not apply to a Bosrd t ~mber whose
child is s s`- - @». t attire school. In such a case, the particular Board maine shall have
the same right - access as other parents of students ofthe School. TheB :- o recognizes
that dequent d sanction ofthe educational process canbe detrimental to '- ~ progress o
the students _» m an impedimentto the mums.l goals o£the Bosrd endthe ; v -'»-:=on~
Provider. U ' .» cannabis interference by the Board of the day-to-day m' » ¢
School will considered a material breach of this Agrcement and subject to
provisions of ‘ » lion 8.2.1.

1.1. apl - 1 some -'rvo noncomme nor il to manor by tow-io'ooaooo¢ win
a private enti ' format entity to provide educational management servlcosi The Bcsrd
hereby appoin »: and engages the Edueaiion Pro`vider for the purpose otpsn_viding
rinano:lgber‘lial. t tentative and educationslssnioes to»ttie Sch'ooi more specifically

es e ~ » ».

1,3. negro o or emma Tho none soo soo obligation to oomplr with the
provisions of =_~_.¢ so maintain the Chsrtm Coetra¢n, granted by the lien .I ' -
Dopertment o Bdnoetion (tho ‘lAnt_horincr"). including the C.hsrter P_etitio or
Applioation ('l\ - Chartcr-¢otttrwt and Cltanar Solrool Petitlon orAppllcatlon shall
hereinafter be v ‘ to ns the “Chener*") for establishment ofan independent Public
Charter Soito`o` ("tho .Schonl”} in accordance with'all `New Jersey charter school laws end
regulations = ~ in accordance with all other applicable Bderel and state lowe

1.4 Cons nomination with Education I'rovlder.

Thlrd-Pnrty l empla£nis. lf the Board receives a complaint regarding any alleged
material dell .J.~ o in any aspect of the Board’s or the Bducstion Provlder's operations
ii:om any p t or entity. or if the Board is notified by the Authorizer or any other
govennnentsl- minority that the Board or the Education Provider is or may be in material
violation of ' utter School Law or any other applicable law or regulation gail ofthe
foregoing co = - '. referred to ss “Potential Violutions”), then the Boarti shall
immediately ti£y e Educetion Providor contact listed at the endoi`this.¢Agrecmeut-oi’
the Potentisl .lolations-aod provide a reasonable tirnei`ramc for the Etlue_'ell_on Provlcier to
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-"i-¢’/ . . .
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of such Poien11 Violaticns. Upon receiving notice ti‘crn any source cfa _
Viclation, the _1_1_ orion Prcvider shall conduct a thorough investigation __ determine
whether or_ 1 - tim claimed violation‘ rn fact eidsis. The Boar'd shall reason bly cooperate
with the 1 1 » 1 on Provider in the Erlucation Provider's investigation of
Violsticn.

It`rhe :~1 1 makes agccd faith detemiination thatthe Bduoaticn' - ‘
failing to dc -'oi things necessary andreasonsble to investigate remedy, _ .1
the alleged Po_'11 trial Violation, then the Board shall provide written notice '
Education 11 1er of such belief, stating with partit*.ulin'ii}ll the reason for `1.
the Parties shu meet and attempt to resolve the dispute. Ifilre dispute' is n-- rcsolved,
ihe Board may but shall not be obligated to, separately raise all reasonable 1 1 one to
investigatc,-s edge rebut or contest the alleged Pctential Violation, 1_ _1 1` »- ng but not
limited to osts- linking direct communications with the pcrson(a) raising 1 1' Potential
Viclation or -- 1' 1- counsel to contest the matter or negotiate a solutlca. The foregoing
notwitlisianri _, (a) the Board shall notconsenttcthe entry ofanyjudgm111 orenter into
any settlement tii-respectto a Poteniial Violaiion wlthoutpricrwritten neil to the
ramsey 1 1_.md(b)rhsns»rdihaussarmeso1essonrmader'mismbre
cooperation in=- defense of the matter.

1.5. Evai_1 on oIEdueaiion Provlder. Bducaiicn Providor shall misstate fully
with the Board in the Board‘ s review of the progress of Bducation Frcttid towards
educating the i 1 l1 in accordance with the Charter. Any third-party evaluation must
be performedi- a mutually agreed upon evaluation Any evaluation of the Education
Provider nnist ot disrupt the educational process. Thc first evaluation under this
Agreement 11 inct commence -priorto the completion ofcnc ilrll c year.
'I'hereatier,' 11 atlanta shall be conducted per e mutually signed upon sch

1.6. _Stude Bnrcllnrent. Eduoation Provldcr and the Board shall wori't cooperatide
in recruiting 1115 admitting students to the School, subject to the Charter School Law,
Schocl Poltcie , and any and all other applicable federal and state laws and regulations
Students shall -» 1 admitted to the School ss determined pursuant to policies established by
the Boand in 1 ' :_1 cooperation and with the consent ofEducatioii Provider. Eduoation
Provlder shall a responsible for administering thc Schcol’s recruimcnt, admissions,
lottery and e- - llmen;t processes in accordance with the policies establisch by the Board,
Chattcr Sciioo I..aw, and anysnd all other applicable indem and slate laws and

reginntlons.

1.7. Legal ~' -1'tus'. 'Ihe School is a public charter school established by a charter
issued by the 1 -Jersey Depariment ofEducstlcn and any extensions. Th_e Board is
organized as s cri-profit organization

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1.s. royer ~\1spso_s, too scm rem vs removable for osds\g soo using
occupancy " ` - in the physical spacesth the School will oostete,snd` r ensuring
the physical sp : ~ will be needy our occupancy silent three weeks prior thc i'ust day
of schooi. All osts incurred inhesz wellities, including binoot limits to surveying,
englncering, ~» owtion, omtsults`ot costs endinitisl lesse.psymenls, shell `¢ o paid from
funds aliens o ill lite S!a:t-Up Budw§ md additional lease payments ebel ` be put of the
Operating B ¢.i_ct. 'I`hc_Bosrd shell delegate to the Bdocation Prov§ida tires easement
ofsuch scales The Bducstlcn Provider must approve in writing all '

to the acquisltt~ a renmdeling and maintenance oftbs fscilities. Thc Bd -r-._tlon Provider
shall be respf ble for determining who has access to the buildiog, loclu o g who has
keys to the lau ding, regardless ofwho signs the lease or owns the pro .'

1.9. Ns\me' 1 F_tho School. The name of the Schoal shall be “irrternsti m t Acudemy of
Atlsntic City 1 hester Sohool." Durlng the term ofthis Agrecment, all du:£e? osrds,

   
 
   
   
   

letterhead '- nose signs, press relcsscs, oft:ioiai school correspondean - beltes,
including'secil s sites, eto.-, shall else-contain the ii)llcwiug wonis: ' ernest ofthc
SABIS® lNetwork"pu`ssuent to thecorporste'g_oidelines and the ' ES®'Logo -
the olive tree ith the date 1886. If'Bducstioanvideror another SABI sleiate no
longer »'=:~ = s the Sohcol, theBosrd shellnot be permittedto use any-co hth or
protected l ='»~ ~»` or logo associated with SABIS® and shall immediately texi[\ove and
return all .i row containing the SABIS® name and or logo. Should the B fail to
remove and - l -sli items containing the SABIS® name md or logo seventy-two
[72) hours of .. » Education Provider or other SABIS® affiliate ceasing to manage the
School, the B'e ¢ shall pay liquidated damages ofOne Thousend ($1,000.00) Dcils.rs per
day to the Briu 1 lion Provldor. The parties schlowledge and agree that the failure of the
Boord tc rome s snd/orretum all items containingthe SABIS® andsndforlogo within
the seventy~tw» hours provided herein shall constitute an adequate basis for s request lior,
md s grant of,` __ » unclch relieffrom s court of competent jurisdiction

1.10. ss »- '»_\ . stresses annum rosenn res samson vaicoror.-y_ mary
affiliated with o o Eduestiou valderin any advertising or other publication in
connection _ 1 goods cr servicesrendered by the Bduostiou Provlder without the prior
written sp = ~ : ortho Edoeatioo vaider.

1.11. GW l l gBosrd Trelulng. Pziorto the opening ofthe schocl, as well ss on s
yearly basis s 'i ~ 'mds, eli Boord members shall participate in formal Sohooi Governing
Board training 1 mut to NJSA ISA:]?.¢SS. The cast of such training shall be s budget
ihsm.

z. russo and o 1 uguctoos ormducasoo rrovmsr.

Consistent wl l the obligations ofthe Boer'd under the Cb.stter Sohool Law', School
Polioies md any and s i applicable fedml end state laws and regulations Bducstion Provider
shall have the fcl_lowi g rights and obligations in connection with the operations ofthe Sohool
and education ofthe dress enrolled as students in the Sehool.

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1 l" L‘\'q t

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2.1. Aut-“lto
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try and Obligntion to Mnnage Sohooi.
-? bjoet to the provisions of this Agreement, Educstion P-ro dot shall be

responsible fo the operation ofthe Sehool, and Educadon Provider shall ve the right
end obligation - educate the children enrolled in the Sehool. Those duties shall inolude:

(a)

(b)

(¢=)

(d)

(¢)
(f)

(s)

2.1.2.
responsible

  
   
 
  
  
   
 
    
   
   
 
  
  
   

-l'omentutlon ofthe education program and program of o motion

` spooi-Hoally,. the SABIS® cun'foulum, SABIS® hooks and _ABIS®
educational System identitied in the Charter appliestion), naive ofell
='» \ ial education program requirements, consistent with N.l t re

» unlwlum standards :

1 evolopment and administration ofthe school’o curriculum and
-' termination of the applicable grade levels and suhjects.

electioo, hiring end pmformaneo rm'iew ofeil parsonnnl, ding the .
= olsoo,l Diro;otor, and payroll notations on behalfof'tho B , subject to
l o approval ofthe Boord,.sueh approval not to be unreaso ` " y withheld

l
" o£ossionsl development for directors, instructional personnel, and other
¢ dminintrstlve stafi’.

ainwotmoe and operation ofthe Sehool facilities.

- = ' 13 t md mootness am sunset in song notitses md
-rog.'sms.

' 11 sxv?a»omt'lmlsc progenan welding but not limited to before and
sohool sure and programs, implemented in connection with the
. _ool.

object to the approval ofthe Board, the Bduoation vaidoi' shall he

. promulngthosowioes aetforthtuthis Sootton 2.1.2 and-may,and;ln

conformance = ith CHB_HW Sttho'ol I..aw, subcontract `With public or private entities or with-
privato person la the name of the Boml and as set forth in the Budgot, in furtherance of

lite claim

  
  

'- ' this momentfor:

` todtal services, supplies and equipment;
` § al education servlees;

` :onsnuoti_on ofn_ew buildings miller improvements to existing building

sites as Eduestien Provtder down n neesssa:y" ‘ for the knpiemsms¢n arise
Pmsrm. subjest to the availability otadequm mm ms

s 0£22 l /

 

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¢ ` y other usurious as consented to by the Bc_srd that Bdu
cents reasonable and necessary tia-achieve drs goals of'tlse ardand
rios Provldar, including but not limited to nursing, a -sohool

      
    
  
  
   
   
 
  
 
 
 
  
     
     
    
  

mm B=r>urliy. limiting requests for proposal-s, and g grant
plioations.
2.2.. Stu'de Outeomss. Educuuou F`rovider sbin provide to the Bo the reports set
forth in 2.3. for the B- *a review and sppmvai, and shall set student standards performance

which nmu mm or § so mumsm augustus establishes by me moses
school serious md il ms ut sum umwa resume mut sue laws mt regulations n than
be the responsibility o ' Ed'uoation Pr'o'vider that the students shall meet unusually agreed upon

standards for w ~ whichsballprcvidcfor:

- l compliance with the Charter Sohool Law, the methods l d
ilosopity as set forth in the Charter, School Poh'eies, and either
z - -.~ liesh!a`lsw or rsgulation.

~‘ mount testing in the first month of school`using a nstionsll recognized
~ - ~zoi`eronee test to establish a bansltmsrk. St_udcnts will-bc tested
= -m in spring, using another ibm of the same test, to determine their

' dent proficiency inescantlul comptspersubjoot. 311 femath

`ting,asnocded, ss wellasbua`lcxanu_a`tthe end o£eooh , students
l display premium understanding ofccsential subject material as

' ended by the Hdueatlon Pto'vlder oun`~lmilum.

2.3. Re_pe ~. l g by Eduestion Provlder.

2.3.1. marion Provider shall submit an annual report to the Boa‘id before tbe~
beginning of o following mdcm_ic year, reporting its program towards attaining student
outcomes. The ~ ~ ort shall contain inibnuatiou regardingsttmnt achievement by grade
- l -'refereuoe test Bduoation Providar my,.atlts aoio-diecretion, submit its
,ug_h the Direetor nndfor lite A.'cad_omie Quslity Conuol oiiloer.

' donation Provider shall provide to the Bom'd. on a_ quarterlj basis s

budget analyst . showing budget versus actual comparisons in the same format a"s tbs

budget Bduo .- on Provider ms'y, at its soiedisoretien, submit its budget analysis though

= ~ - or the Busluess Msnsg'er. In consultation with the_Edueat-ion Providsr_,

the Board sba l ongoge_an independent audith incomplete the anmml audit and

l§duoation ‘ » _ ldcs-shall oomply with unreasonable requeste. 'Ihe cost of'tho audit shall
c s budget i 1- _.

2.3.3. . :=' 1 carton Provider shall provide nut opportunity for the Boord to observe
the Eduoation ' victor educational processss, review ourriculum, -ruvlowuppropriate

2.3.2.

   

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data, and naval and confer with designated Education Provider contacta, ideal
arrangements g _ made in advance with the Bducation Provlder and provl d the
educational . ncaa is not disruptad. Any contact between Boerd Metnh and School
staft`rnust be ada through the Education Provider.

l
2.4. Fcea. hess may only be charged to snidan in accordanen'udih a iicahle
prcvicluua oflhe '- 1 = School Lau'r-, Schccl _Pclicics, and any other applicable oral or state
laws or rcgulaticns. - fees may be charged or assessed tc surdenla by the IElbardt thcut the-
prior written approval t’the Edncation Provider.

l
2.5. leisure lent The Education Scrvice Providcr undertakes to mai:ii: insurance
as listed in Appcndix - to protect the interest ofthe School end other interested ` . Such
insurance shell be ~.= ~-l out by the Bducation Service Provider at the cost and cup e of the
School.

2.6. Clrurt l- between the Board end Authorizar. Ncither party will 't, or fail to
act, ina manner that .1 ll cause the Board to be in breach ofits Charter with the ill linen

3. Budget, Fuu- ug, and Compcnsatlon to Educutlou Prcvlder.

3.1. _ Budget. All revenues will curve to tiindtbe operationch Schcel.
Education Pra ider, ue"later than May 31 of each year, or earlier 'lfrcqrdred by levr, shall
'ttctthcaida detailedrecemmeudadcpemnngbudgetandcnpinl
dget br me next fiscal'year@e “'meioced Budgd"). The Pi'eilbsdd Budget
shall show area ufc_xpcnditute_ss desperatean liem,, including 'nmda' allocated ncr

use by the Be - l fur legal lbea, charterde lbea,md incidental Board administrative
expenses ‘ l. Expumec"),end fencst payments bollducet_.ien Provid `. F'unds
allocated _ l mmahdluctsxcwd'$;$puamdmt litede all review
the Proposed ' - dget with Bdu`eatlen Pncvider and shall provide Educalicn Prwiddr with

the Boand’s en .1 1 a ta, in writhzg¢ Withiu inn ('10)-daysafaccer'pt cfthcpzupmcd budget
It‘the Board_= a decat|oul’rovidersic not able to agree on nBudget before the
expiration cf -“ wraent£aeaiyear,lhelactap}mvchwdget,ddinstedbnlylorenect
enmlhnentche tguc. shallremain lusfl`ectuulilaBudgethsabeeusgreed upon cr
finalized litton t 1 the dispute rescinded process ad fbrth helena

I£ the parties b_- c not reached agreement on the Budgct within thirty (30) days o£the
submission oftbe ‘ Budget by Education Pt'cvidcr to the Board, either party may request
that open issues be . to the Exccutive Allantle County Superiutendent or the Dcpartment
ofEducation on the ewingiasues:

(l) - 1\- c effect on educational outcomes for the sntdents;

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,q.

c .,;\‘;
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he ending provided rec n previous budget and ne smooth actually

(2)
»‘ -`cnded; and
(3) c projected levels ofrevenne and expense for the year in lime
3.1.1. ' et DeEclt. Educaticn Provider is not obligated to cover an Net Doiicit

- = financial statementa) of the Schocl. The Net Deiicit, in cntircty,
shall be the rea v ~ t ’bi_llty of the Board and the Board shall indemnify and old the
Education Pro ider harmless for any Net Deticit, including all costs and eya' Bccs.

3.1.2. tart-Up Costs. The Bducation Providcr will submit co the card a

budget for the = ticip_a_ted start-up costs including a contingency of 15% in trier to take
into account =»» y extraordinary additional expmes. Thc Bducation Provid _ will obtain

the consent of heBoard in advance forunbudgeeed expenses exceeding _ ofthe total

start-up blm w a
3.1.3. apa in ante ¥undin'g. In the event that there is n gap between Taition
Funding horn i~ " State-nlld expenses incurred by the Scitoo`i due to_the'l\iiticn heading

cycle set by '»- Stcte (i.e. '_Iuiticr\ Pun_d€eg is not received co tire first day d£cmttrnonth
or the Erst day cfcach quartcr). ttheartl is responsible foreovcrlng the g_kp either using
the budget e or with sline'cforcdit. Thc line ofcrcdit shall he with s thirdperty er,
if third party t riding is not available maybe with the Educaticn Providcr'z'tt the
Education Prc der‘s sole demotion.- -Any lino cfcradlt provided by Bdnentto_n Provider
' ‘ - v wife argument between the Board and Bdltoation Ptuvlder, end interest
- ' j- ' . So.ch line.`cfoccd_ir is dcaignedtc be `a simrt-termso_luticn end theBoerd
-»--s ~ -- d to build a reserve, or acquire a third-party line of credit, sufficient to
finance iltndi l gape, and such reserve shall be used flrstto finance any funding gaps.

3.2 Funding. All " " tisrcceived in connection with the School shall be draw in the
School'a bank accou'n Bxpendi_tures il'orn the School‘a bank account shall he l o only in
accordance with the B get (as it may he modified by agreement from tich timo) and upon
approval in writing the Dincctor ofthe School or the Busincss Manager to whom the Director
may delegate this resp _nslbil_ity. The School Dlrecrbr and one other School employee, as
determined by Bduca .-.. Prcvidct:, shall have authority to sign checks written on the Schcol's
bank account A rope ~» live of Education Provider shall be appointed by Education Provlder
to be s back-up check - ’gcatory.

Subject to agreeable laws and regulations, either party may apply for and licceive iimding
ii'om private sources c be used for the benefit ofthe School. The Parties shall coriperate in good
thith in applying for t l- piiciahie funding; providcd, however, that the Education Ptovidcr shall
have iinal authority tc approve or reject outside frmding,-Bducstion Provlder further agrees that
any grants received - ‘- -» t any federal or state agency or non-profit corporation shall bo used as
directed by the granto of the grant and any unexpended funds from those sources shall not be
deemed as nncnpcndc flrnds, and shall not bc part of the base upon which Bducation Provlder's
fees are calculated, nn in any calculation ofthe Ycax End Operatiog Balance. It' Bducation
Provlder obtains grant funds for thc School and such grant funds contain a component for

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administration, Bdttea on Provider shall be entitled to that component if allowed tinder the terms
of the grant and by la . '

      
  
     
     
  
  
   
   
 
 
 
    
  
 
   
  
  
  
    
  

The Pertiea ar ~- nwiedgc that all tide allocated for the operational ' ofthe Schoo|

shall be spent in'aece -ance with the ch'd-apprcved Opemting Budget. Si _ . line item
deviations at the obj »¢» level greater than fifteen percent (1$%) ofany major line - major line
items being these w -se budget exceeds fifteen percent (15%) ochtal kevenues,iftem the
approved Opetating =-"l dgetmust be approved by the Board prior to disbursement ' Bducatlen
Ptovider shall mori »- the Board with all relevant information with respect to so ` deviation mtd
the Pa:ties shall :=-~ in good faith negotiations to resolve such entra-i)udgetaty ` a. If
the parties cannot w 1 an agreement the issue shall be resolved pursuant to the oeedures

contained in literang 8.2..2 ofthis Agreement. 1
;_ Ed‘ucei§en Prcvider. l

license Feea n;i`eig_ht~.peteent (li%) o£tctal plot pupil ` ` ‘
itt N.I.S.A, § l£Az$EA-lZ) ibt monte ofSAPIE® college col commit

3.3. Compenantlon
3.3.1

  
 

ofthis Agteoment (1he"liecnae Fee"_); and l

amusement Feea ofst petcent (6%] oftotcl`_ per pupil mailing (cs set
limit in N.J.S.A. § 18_A:36A-12) for services pmvided, including but net
limited to methodoicglee, Whin[;.iwhnlqu°$» wanting policies &.

' - ~ cres, en~gelngedvice, academic strategies tc enhance standards,
en ffdisttibutions & timetabling, and academie eventlg,ht (the
“Mcnagcment Pec").

Upon renewal of the Agreement, Edueation Provider the right co
adjust-the License Fee and Maoagement Fee subject to the ,pproval ofthe

o

3.3.2

3.3.3

3.3.4

. 1‘ motion P~rovider':_t parent ccmpatty., SABM Bducstiooal Systemt,
Ine., pcc_vided that such services are included in the Apprcved 'Oponting

~*- ltdget, and further provided that Bducntlcn vaitlcr's cost to provide the
services are less titan the coat ofac independent contractor. Thete
serviced may include but arc not limited to grant writing, weh`aite
development l'I` training, recmitment, facilities search, and drafting cf
REPs which fail outside cfthe Agreecoent. Suoh services will be billed at

§ -ucaticn Provider's then-cunent rate and are in addition the
Management Fee and License Fee.

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end on .lune 30"', 201" end subject to renewal ofthe miami and the prov

   
    
 
  
   
 
  

   
 
 
   
 

3.3.5 -- ii Lioensc end Management Fees and support services th ‘ ifany, shall
paidwithi.n¢hm (.')') days ofrecoiptby thede ofany_ do paidby
o State to the Boa!ti. The balance ofall Fees shall bo paid witth thirty
-ii) days ofthe final installment payment
3 .3.6. direction Provider shall be entitled to reimbursement for related

- the performance of this Agreement. which are notpart _ o operating
1' Hdgef, only with the advance written approval of the ____ based upon
ii diana than (a) the eicpensc was necessary; and (b) the-en se is one

' . should not be borne by Bducation Provider because it j beyond the

: opoof the management services for which Bducat'ion Pro\{ldcr is being

- ` . enactedbytheManagementFee. :

n weaniont shall commence on therefore this AE:[¢=U is signed-and
ofithe Charter
_ t _

Sohool Law and any o . er applicable fcdatei end state laws and regulatiem. l

4.1.1. » nunn an nonear. fran Ag:acraanr vnu.auwmnaaany ranch far an-
addio‘onal 5 ya r tom subject to motion 3»3.3. .o£thla Agie`ement, unless either party
gives notice 'o ` temdnat‘io_n at least twelve (12) monthspr`ior to the minded of the
Tenn. Ifei »-» a party gives euehnoticebntwlshestoreoegotiate themecment,thon the
parties wililra eepea'lod ofo months tomegotiaae. Durlngthia period oftimothe
Bducation _Pro ', will continuernanaging the Sahoelunder the tom ofdria ngrecment
exceptthatan flmot:ionoraotionralatedtcpmparingthcsehooiforthe ycart`ollowing
theend ofthis 1' milbopiaoedenhoiduiriess mduntils new Ag:ecrnentiaexecuted.
Intlreevent h tthepartieewishtorenogotietathe'Agremeat,anewli/ianngement
Ag'reement m" cr he signed henne Eduoation Prorider will assist in the preparation of a
charter renews applicanon.

  
 
 

termination for Ca\lle. Bither party may terminate this Agreement in
the event ofa _=- » tmial breach pursuant to the provisions of 8.2.1.

n ne To Ad\¢erse Law. it`n.ny federsl, state. or local law or regulation or
court decision a materially adverse impact on the ability of eitqu patty-10 carry out ice
obligations mci - this Agreement, end the Partiea agree as to the material adverae impaot,
then either .» - 't.. upon written notice to the other party, may request good faith

the Agreement; and ifthe Parties are curable to reach agreement on such
go d-thith negotiations. prior to the end ofd)e academic year, then either

' " to the Agreenrent as o:l'.lune 30 unless sooner termination is required by

    

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4.2.3. n e to Charter Termlnatlcn. In the event that the Chsrwr is revoked or
oct renewed, eti-this A.greement shall automatically terminate as c£the-
effective date f said revocation oreffective date cf non-renewal

 

4.2.4. 1 ne to Adverse Condltions. ff any Adverse Ccndition inc udlng, but not
limited to, s ~ = »\ in state fundlng, er ife condition ofthe Charter melt it
impossible, in sole judgment ofthe Educatloo Provlder, fbr the Bduea en vaider to
continue man 1 ;- g the Sehcol, the Educaticn Provlder may tenrdnate this . statement
upon written ~'tic`eto the Bcard.

 

4.2.5. nut tt abramson acute sorts m the event that ute netfrd lt dissolved
Edueatlon P ider mey, in its sole discmtlon, terminate this Agreement. ;
l
4.2.6. Neiillerparty shall be liable if the performance cf this Agreement, in
whole or in gm . is prevented, delayed, hindered cr otherwise made impracticable cr

impossible by ~ cfany strike, tlcod, riot, tire, exploeicn, wer, act of sabotage,
accident cr n other casualty or cause not the party'a fnult, and which ' ' ot be

overcome by »- _ -eable diligence and without unusual expense

'I?heB_elrrl.aekncwledgesthe`ttbis weementandellother'egreementa
mud ante tt.. _ names emmett ettttyrtritr assisted subsidiaries mm
and/oressigns -deernedtobemunmliydependentupcneachctherandehreeehcfhn}'
one ogreemen by`tlieBoerd, mayet lite-option cfEdueationProv_l_der,' orsny efilr_
efflliates, s' -- dlnrtee.th:ucceescra.nndlcreesign_e, be demedsbmsch ofmy udall amer

4.2.8. o management ltfl tile event oftmy nomination nfdtls.Agreement-ythe
Pacties agree -' at neither psrty, ncrnny:o£its membcte'. admitted end/or associates with

 

directly dr ind rcctly, in any capacity .or mannnr, mabel exprnea, transmit, , write,
verbatim er ct erwiec communicate in any way (_or cettac, thrthe__r, assist,-eoli'elt,

encoursge, : . port or participate in any cfthe foregoing),'sny remark, corrummt,_
messege, in t t tlcn, deelsnttlon, communication mother statement of* y lt'ind,
whether vero . in writtrtg, criminally transferred er otherwise that ml _ t reasonably
be construed n lie-derogatory or critical cf, cr negative toward, the other or any it's
respective d ' officers, eEl_iates. subsldlsdes, employeea, agents or representatives

thwlths;tsnd _g the forcgoing, nothing in Seetion 4.2.8 or elsewhere in this Agreement
shell prohibit ' 'thsr percy .£‘crn_teeldog_.eny statement or disclosure required by local,
state or indem lew or erdi`n'tmne. _

5. Employees.
5.1. Teachers sndLStaH. The Board shall be the employer ofall personnel but shell delegate
all personnel filtration to the Bducation Frovider, subject to the approval of the Board and such

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ff ..
;. dq :"10\$

 

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approval notto be " 1 1
personnel functions: 1 selecting hiring mining managing reviewing and 1 ._ting-s.ll staff
associated with the 1 1 i, including without limitation its teachers and all adnti_n .1- 1tlve and
support staH"l establish ng pemanue_l policies and prooediu‘es, and deter-oiletingtea er and staff
compensation; 2) de 111 11 the number ofteschers and the number ofstqipott_1 fi`requircd
for die operation fifth Schaol pursuantto the Clmtcr; and 3) selecting and 11 . ;1 such teachers,
' ' vote and subjects rcquired, and support stcft`as are needed -_

' ' Systemoftheschool. Anyemploymentdeeision that 1111=_isthe
t _be

N. J. S. A. 18A: 36A-l4. Such teachers and support staff
discretionoftlieEdn .. nn Pravlder, worker the School on s hill airport iimcbas .
teacher hired or by die Educatiou Provider shall hold a valid washing _

‘- ontltm, if required by Iaw, and all teachers and staff shall _ _ _
undergone a criminal _ 1 _1 d cheek and an unprofessional conduct oheok, as tilted by
1 _ - other applicable state and federal laws. t

eeitlncsdonpursuant

11 uniform relating tn the employment oft_lte Schoal D to the
Bducation Provider winding selecting hiring miuiug_nisusging reviewing de
compensation an 11 11 1 ~ting the School Direetor The Bducstion P.`t'ovlder will have the
authority and respects 11`lity ofholding the Scltool Director accountable for the success of the
Schoal. Tlie Scliool D ector shall report to the Bducation Piovider and not to the Boaid. Any
employment decision 1.11» impacts the tenure oftlie School Direotor shall require approval of the
Board, such approval 1__ot to be unreasonably withheld

5.3. Tralnlng. _ Bducaiion Frovl'dor shall provide trailng in ira methods, curriculm and
the SABIS® Bdneatie System to all personnel on a regular and continuous baeik, cr as
deemed necessary by' 11a Bdncation Ptovidcr. Al__l pmound shall receive such training as the
Bducadon Provider d 1'1 . 1 'oes as reasonable end necessary under the circurnstanws, or as
required by Chsrter 81 col Law. Trainittg shall occur tin-site or at locations to be designated by_
Education Provider, _ Eduoatlon Provider’ s discretion Bxpenses for training aad' sominars,

6. Proprlatary f '

6.|.. Eduou- 1 1 Providci"s l’rlor nghts. The Board agees that Bdueation Provider
has the licensing right Rir (a) all trademarlts, copyrights and other proprietary rights developed
ofthis Agreement, and hereinafter subsisting or created in its
_ __ training materials, methods and other materials developed by Bducatlon
Provider, its ai`riliaics including but not limited to SABIS® Educational Systems, Inc. ) their
employecs, agents or ' uhco_ntractots (to thc extent such individuals are legally or contractually
obligated to assign or _ eve assigned such rights to Edtication Provider or to SABI$®

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Educational Systems, ne.).; and (b) such other similar instructional materials, training materials,
methods and other ma crisis that may be developed at Education l’rovider sites or sites of
Bducation Provider ' liamd entities, which is protected by law (“SABIS® Propritary
btformation”). Durin the term ofthis Agreement, Eduaation Provider may idcntl and disclose
to the School SABIS mprictary Int`onnation including that which is currently in 'stonoc as
well ss that which - - be created in the titture.

.- l to Board. Exeoution oft`hia Agreement shall give rise to a voaahl_e,
limited, non~oxolusi non-transferable license, for the use of SABIS Proprietsry ofoonation to
-r e of operating the Sehool's SABISo Edueational System, Education
Prov_id_er shall be paid fee therefore as provided in Section 3.3.1. 'lhe Board s be separately
consumble materials provided by the Eduoation Provider the Sehool,
_ oonsumable materials contain SABIS® l’roprietary loforotation Exoept
to the extent neoeas: for implementation ofthls Agreement, the Bosrd shall not disclose,
publish, eopy, ira ~ » ' ,or utilize SABIS® Proprietsry In£on'naticn during the tenn of this

v \~ after ita expiration without the prior written approval of Eduoation

6. 3. Join' t Developod' Praprie,tnry Ini'ormatien (“Derlvatlve Works”). Derivative
Works may onlybe - - ted with written pennisaion ofEducation Provider. including any and all
euniculumoroth _ImaterlalswhichtheBoardmaywlsheodevelopusingpartorall

of SABIS® Propai - t Ini`orr_nation. Any such Derivative Wor|rs shall be considered SABIS®
proprietary infi?rmstlo and treated in secordancc with Paragmph d.l ofthis Agrcement.
Eduoation Provider .' - '» l not claim ss proprietary any curriculum or other educational materials
developed and paid ib by the Bosrd provided that such materials are developed wholly
Wdy and wi out the use. directly or indirectly, of any SABIS® Proprietary

rma en

6.4. Educn ton Provider Warranty and Indomnli`iention. Eduoation vaider
warrants that it has all necessary rights to license the SABIS® Proprietary biformation to the
Board. Bducatlon Pro_ . tier shall defend at its own cost any claim or action against the Board or
the School for inii*ingmaot ofany patent-, copyright, trade secret or other proprietary interest of
any third party based on any materials iinnvhedor licensed'hernxmdn' or upon the Board’s or
the S'ehool’s use osz furnished or licensed msterisls. Edt.tcatioo Provider further agrees to
indemnify and hold th ` Board and the School harmless from any and all liabilities, lossea,
damages, costs and ex ames associated with any such claim incurred by the Board or the School
including reasonable w tomer flies. If any SA.BIS Proprletary Information auditor other
materials hn'nished he ' » » ¢- r islaro involvcd' rn such claim or action are held to constitute

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7.1. With '- oct to property aequisitious, the Edueation Provider has obligation to

act in the best interest f the School. All property purchased through the operatin Budget with

hinds the Boaod may loeive pursuantto Charter School Law, other than hands w oh accrue to

7.2. All co heets, whetherwith public orpeivase entitiea, shall he entered into
whenever possible in I:le name Of the Boa`rd~ or B_ehool, as approde `_Bdttettliotl Yrtwider shall
notherequired to 11 1 yenterinto anyoontract. Flnthier Bdncetioo?roviderehsliuotbe

personal, for the Seho . l shall include, ifpossible, a provision that the connection be assigned
to the Board. Upon

 

7.3. All so uisitions tlmt, doe to ths`Board's inability repurchase er iinanee, are

instructional merit ` ,equipmt, sopplles, houitme-, computers and oilserwohtwl°gy, drill be
owned by and : t oregroperty oftha Edocation Piovider. Any property purchased with
funds advanced to 1 > Board by the Bduoatiou Providecuadern Lioe ofCredit no shall be
considered collateral » -` the note is repaid Thc Boartl shall execute atty does ots required
by the Eduostion Pro ldor to secure tiseoollateral, inoludng hut not limited to ami security
instruments including but not limited to a oote, security agreement and UCC statnieent.

7.4. U_pon .=. .- - ~ n for any reason, all property which has been purchased or
financed by the ~ .~ Provider with its own ii.mds, including but not limited t_o the funds
paid by the Bosrd to o Eduoation Provider for Lioense or Management Fees under this
Agreement, will rem _ the property ofthe Bdueation Provider.

7.5. All p erty owned personally and/or individually by the tenohers,,odmini'strotive
and support stafi`shal remain the property of the individual teachers and staff. Such property
includes, but is not li ted to, s.lbums, non~Eduoation Provider curriculum menuals, and personal

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al \`. L,`\q “

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or indirect use of SABIS® Propriaty Informatlon, by tea or staff.

memontos and other minds or apparatus that have been personally financed or :’ holly

8. Amonthnents,

8.1. ramon
both perties.

8.2. T'annina
83.1.

the event cfa

8.2.2.
has committed
applicable law
nw towns
Theraail‘et':

(l)

(ii)

(iii)

(iv)

  
  
 

ircmtlnation for Cause and Dlspute Resolution.

 

. ents. Ail amendments to this Agrecment: shall be in writin executed by

l
on for Causo and Dlspute Resolutioa. t

termination for Cause. Bither party may terminate this _ _
breach pursuant to the provisions of 8.2.2 below.

Diapute Rasolutioo. Ifeither party ct any time believes th other party
a material breach ofthe terms oftch Charter, Charter 8 _ Law, any
ur_tcgulet_i_ott, or this Agreemeat, notice shall be given in 'ting to the
ruled in Seetion 14 stating in detail the nature of such v larion_..

 
 
 

rha-partin assn movants nn utu days crew sense unless memo
aroothexwise required to meet sweet in tire notices andme meeting shall
bye attained oitl'rcr_lnpofa_on et the school or by telephone cr video
conference by hidi-viduaia' with cowden-making authority writing 518
rlis;'ntt`ol to cont’tr ustc the violation end in good faith attempt to negotiate
a' numbein acceptable remedy,

If} within thirty (30) days martha writtonnetice-, the-parnell are unable to
agrceto-am`utuaiiy secoptabictcmedy, the parties agree to'_submit the
dispute re binding arbitration ia accordance with ute Ccuunercial
Arlrltretlon Itules oftho Amerlcan Arbiu-atlonAasoelstion. Tha-
arbitmion shall take placelin blow Jcraey and be governed by_the laws of
the Statc towa larsey. Tho. arbitrator shall belointly chosen by the
fBoard and the Education?rovider. Ajud'gtnent upon my reward rendered
may be.snt`ered in any court havingjnrisdietion tbareof. ,

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matter being brought before tho.arbln'ator. -it'the arbiuatortiotormin_es that

(t'}_ m party has mutually massive montana nle(s) ute
breachinng either cannot or refuses to remedy the bre'tcb, the ncn-'-
breaching petty may terminatothe Agrecmant upon.thirty (30) days
written notice and recover aet\ul damages .

Bach Psrty shall be responsible for an equal share ofthe cost ofthe
arbitrators fees and expenses However, each Party shall be solely
responsible l`or any expenses incurred by that Psrty's request for additional
witnesaea, representation or services. =

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8.3. thucl '» »r» rds. U`pon expiration or temination ofthis Agreement, l Sehool
tecords, including s 'ent reecrds, employee lilee, financial documents end sll o`t er records
otherwise detined by tate law shall be retained end thereafter maintained by the oai~d. The
Bducation Provider r ny make and keep copies of thc records to the extent p by law. In
entistenninatedforanyreasonpriortotheendofens cyear.the

Educationi_’_mt_rider '- l -‘ 1 also have the right to engage nn independent auditiin'n tro complete an
audit, in accordance . r Generaliy Accepted Aocountlng Prinoiples (“GAAP")," the Board
shall comply with eli reesonei_)le requesis. 'Il'le cost ofthe audit shall be shared by both
parties to this A_g_ r

  
 

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allegations,

suits, lines, penalties, » r~' ' es,eosts,lisbllities, anddamnges, whether-in centerre ' tortor

conduct except and ~ the extent such losses arise out ofthe gross negligence or liisl
misconductofthe ind 1» » eat partyand iiirtlierprovidedthatthepsrtyngninstw cm anyclai.m
»r party within aresscnsble time cf becoming aware of matter, and
theotherpnrtyis n£ib dedanoppermnitytopmeipateinthe defense erdispnsl.ti o£snob.
matter md any negeti r-- - settleman agieemnnt erjedgment, including engaging§ legal chimel
oflts choice. Th.e t t .~ - and Bd'ueaticn Provider shall at eli times be solely responsible wr their
respective legal exp ~1 see md costs, including nttomeys' fees, The right ofindemniflcatlott
underthis section .-rr ibeinadditlon to andnet exclusive ofnllolherrightstcwhieh any
indemnified party ' _ be otherwise entitled by contract or by law.

9.2. No W: ' eric Third Partles. The foregoing provislom shall notbe deemed s
relinquishmentonvn erofany rights orimmunities ofthe parties tothirdparties. l

10. Nen-Discelm nation.

The Bonrd an Edncntion Provlder shall comply with all applicable federal and state
statutes, ruies, regain r one end orders dealing with discrimination

11. Proi’esslonsl

Bseh party r- re lbenr its own expenses for legnl. accounting end other focal or expenses in
connection with the n r :_- ' `

'ees and Expenses.

12. Studentand -*' 1

Ail financial l erda end educational recorda, including student reoords, nrc records cf
the Baard and shall h - kept on-site or electronically accessible on-site and be nvsilnble, subject
tc any and all eppii ~r =- e lawe, for authorized inspection, pursuant to local, state s federal law,

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i'rr""`

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upon reasonable mt . .- Such records are subject to the provisions of the flamin '
Rights and Privscy .r*t (“FBRPA") and the applicable state I-`reedom of lnfomtati ` and/or Open

This A.gro__eme shall be governed by, subject to and construed under the levitt of the
Stste chew .lersey. = -y legal actiom presented er instituted by my party under this

  

party hereby concerted to the jurisdiction and venue of any such courts for such
pat‘tlesimowingiyen voluntarily waive snyrighteither ofthemhes to anisibyj ry in any
proceeding which' ts 'r any way connected with this Agrecment or any related s
relationship establish under tltem. `

Anynotice,dr'~ = o erreqrtestfremeneparqrtoanyetherpartyeryarneaheremeer
shell be deemed to ha been sufficiently given cr served for all purposes iii and s oft_he dete, lt
is delivered by hand, vetoightcotn'im', fscsitniie (witit confirmation) or eieot\cni until (with
confimtstion) crwl:~-.- three (3) business dayeo£being sentby mgistfcted erc edmaii,
postage prepaid, to r -- parties et the following nddresscs:-

To: Bducetior Providcr Manngcr

SpringEeld Eduostion Mansget:ncnt, LLC
638$ Bcwh R.olld

Edctl PmiIiB, MN 55344

Ccpy tot Associatc Gcnoral Counscl
SABIS Bducatlonsl Systems, Inc.
6385 Beach Road

Eden Ptsirie, MN 55344

To: Bosrd Peier Csporilli

29 South New Yotir Road i
Suite 1200

Gallowsy. NJ 08205

Copy to: Nestor H. Smitit, Esq.

29 South New York Road
Suite 1200

Gnliowsy, N.| 08205

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140 waivers
No waiver cfr ny breach of this Agreement shall be held as a waiver of any other or
subsequent breech.

 

15. Ciount`crpufrts Slgnature by Facsltnlle.

This Agreem t may be signed in counterparts, which shell together con tute the
original Agreernent` " d beecme'cffcctlve upon Board approval. A signature deli_ by
facsimile shall be con hinted an original for purposes ofthis Agrecment.

16. Ass`tgaeblitty.

This Agreemtmay not be assigned or delegated by Education Providerth by the Boani
without the prior wri__ § 1 consent ofd:re other such consent not to be unreasonably withheld This
Agreement shall be »' iorcea_blc by, and shall inure to the benefit ofthc parties he and their
permitted successors = d assigna, and no others.

17.1. Each t s - hereby acknowledges that by virtue ofiet entering into end performing
3 `. lt will generatse, be exposed to and have access to the Confidential
1 er pnrty, as such term is delined in subsection 18.2 below. Unless a party
_ ..~.- priormiueneonsentoftheotherpnty,ooaerno circumstances
whatsoever, unless § '-\-'- se required by law, shall a` party at any timer (i) comm _'oiea'te to any
personorentity( ' thanth otherparnr)anyccntldential information; {ii)p _aoc'ess'ey
anypersooor entity ('~emr than the otherpsrty) to acyccnndcmtat informeeoo; (itt) enemy
Couf_ld_entisl inform on for ntsb pnrty's'nwn account cr forthe account ofany person creatity
(other than the other any)'. '

17.1. Fcr ` 'ofthls_A_grecmee`t-, "C-oan_ential -Infctmstion‘* shall mean (i) any
linancial, business, pi_»m ng, seitwarc, operations, servioes, potential scrvises, ducts,
potential products, d tgns, technical information and/or know-how, formules, p ` uotion,
purehasing, madse_tin selea-, personnel, eustomcr, broken suppiier, or other info allen of'sny
perez (ii) any nopers. data records removes mcwoda. technique systems mo ts. compton
devices, equipment, » t ~§- ladene, inveiees, cusme itste, or dorfmth deny Pml'i Ciii) my
coniidential inib > ’1»1 ortrcdceeerets ot`snythird pmtyprovidedto any party in confidence or
subject to other use o disclosure restrictions or limitations end (iv) any other information
written, oral, or elc'__ -nio, whether existing now or at some time in the itt_tut'e_. er
pertaining to current rnlmredeveiopments, end whed:rerpreviously accused by party orto
be accessed during l .» future engagement with the other partin which pertains to s+ch party's
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agrees that Conild_ea ` = Information does net include (i) inibnnation properly in `e public
domainl (ii) intbmteti in either party's possession which does not pertain to the trainees of the
Board or of the Edoea on Provider.

affairs or interests or ~. ith whom or how such party does business. Each party'ani§owledges and

 

 
 
 
 

18. Severabllity. the event that any provision of this Agreement or the appl_ option thereof
to any penton or in .. ~ circumstances shall be determined eo be invalid, unlawtial,_` r
unenforceable to any _ tent, the remainder oftliis Agreement, and the application_. f such
provision to persons o circumstances other thanthoae ss to which it is detenni'n to be invalid,
unlawful er nn .- o _...e bie, shall nothe a£t‘ecwd thereby, andeach remainiogpt'o on ofthla

Agreement shall conti ue to he valid and maybe enforced to the fullest extent-p" md by law.

19. Warranties a d Representatlons. Both the Board and the Education Pro er represent

thateachha.stheau ~1= tyunderlawtoexeoute,deliverendperibnnthis _ tanritoincur

the obligations provid -.- -ferunder this Agreement, that its actions have been duly d validly

authorized, and that it ' ll adopt any and all resolutions or arpenditure approvals qui='rod for the

execution ofthis A`n _ -' mt lt

20. Preamble = t ' I-Ieading, The Preamble is a general statement of purpose ely and not a
ltdocsnotef£ect-inwwaythemeeeinsorinterpresa .o£this-

s - ; _of_the_ aeetion_e of this moment are for referenooonly shall not

affect in any way the 1

a - ;' or interpretation ofthl_s Agtee_m_en_t
21. Enttre Ag - l nt. This Agreement embodies the entire agreement and q}\dersianding
between the Parties - th_respect to the subject matter hereof and supersedes all oral or

written agreements en - understandings relating to the subject matter hereof. No _ t`nm_ent,
representation want " , covenant or agreement ofany kind not expressly set _ _ ill this
Agreement shall slffhe- orbeuaedto interpret, change orreatrict, the express terms and
provisions ofthis ‘ ~ »»,t. Any modification ofthia Agreement must be made in writing, be
approved by the Boa and Bducation Providerl and be signed by a duly authorized officm', agent
or attorney ofthe _' = ea.

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The parties are signing this agreement on the date stated in the introductory oiause.

Peter Caporilii, Board President
Board of'i'rustces ofths international Academy of
At`lantio City Charter School

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Mahdi Ksnsou, Meneger
Sptinst’lcld Bducation_ Msnagernent, LLC

  

Primsry contact for all matters not requiring formal notice under Seotion 13

Goorgc Bsad

6385 Bssch Road
Bdeu[’t'a!ds, MN 55344
gsaad@sabis.net
952-918-1850

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special Csusas ol' Loss Form
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including A|tomsre Emp|oysr endorsement ln favor of Educstion Provlt|as' ll SAB|S° Edu stional Systeml,

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smpleyer¢' tommy ` s sno.ono meantime
5 500,000 D|sessa - Poii¢:y L_lm|t
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$3,000.000 GenersiA¢gragste

  
  

 

Pollcles to be purchased m a carrier licensed to do business In the Stats oi‘ Nsw jersey snd"e'a r'y a lest noting of
A-Vli or better r1
ii Generel ity'Aasresate to apply Per l.ocation

21 senerel l-.ls must be on an Oeeurrsnes eased Po|lcy
31 liability liml mayl he met by using combination of underlying and umbrella policies

Certliicste prescription of "iesretione area must identh project or indicate "All $ervlces Providetl by the Named
insured"

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lsvatema, lnr.. and the Stata CharterAuthoriaar an Al.i. Liabliity polleies_~on Prlmary

Chartar Sponsor policies being nen-contrlhutonr.

The liability and Workers‘ Compensation-pollcies shall he endorsed to provide a waiver ofsuhméeiion to the
Addli:lonal lnsured. `

A 30 day Dlreot Notlca cl entelletion. Non~renewal or Material Change endorsement ls requirede all policies in
favor ofthe Educetlon Pr dan the Sohool, SABlS° end thesceta l.'.henerAuthorlzer.

Ti\e only acceptable form er providing proof of insurance la the AODRD 25 S Certificai,e form attached copies
of additional lnsured, cl subrogation and"cancaila`tian endowomanls.

These requirements shall e mandatorv‘unM-tl\e State Charter'euil'leri:er includes-mere se _ t requirements
with additional coverage

r higher llmlia. in rush cese, tire most stringent contract requirement s_ ‘ il powelll

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EXHlBIT C

 

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Via Frrosimile (609-633»0279) ami Reguinr Mrrii

Knihryn A. Whelen, Dlreotor

Schooi Ethics Commlssion

Ncw Jcrsey Dcpm'tmenl' o'I" Eclucalion
P.O. Box 500

Tronton, NJ 08625-0500

Ra: Annn Doscn and Jose Af`onso v. Peter Cnporllli
Our Fllo No. 04910-31830

Dear Director Wheien:

This firm represents the Complainenis, Anna Doscn end lose Afonso, in the above-referenced
matter.

Enolosed liar filing with lhc Commission please find nn original end two copies o'i`tho _
Complnlnents' Complaint n sell'-ecldrcsscd, stamped envelope is also enclosed for your convenience in
returning a copy of the Complaint marked ns filcd.

Should you have any quostions, please do not hesitate to contact me at the office.
Very truly yours,
CAPEHART & SCA'I`CI-IARD, P.A.

/il/Dw'

Sarunathi Dev

SD/nmc

Enc.

co: Dr. Peter Caporiili (vln omail end regular mail wlono.)
Annn Dosen (vla emall wlonc.)
lose Afonso (vle entail wieno.)

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Sanmathi Dev, Esq.

CAPEl-IART & SCATCHARD, P.A.

8000 Midiontic Drive, Suite 3008

Mount Latu'cl, N.J . 08054

(856) 380-6709

Attomeys for Complainents, A.nno Dosen and Jose Al"onso

 

 

"'?`A"t~i'NA DossN AND Josn AFoNso, : ` s'rArs oF NBW JERS"EY
t scHooL ErHIcs commissions
Complainents, :
t ooct<sr No.
VS. .i
PETER cAPoRILLI, § coMPLArNT
Respondent. t

 

 

 

 

 

Anna Dosen and Jose Afonso, both with an address of 63 85 Beach Roed, Bden Prairle,
Minnesota 55344, request the Sehool Ethics Commission to consider a complaint against Dr.
Peter Csporilli whose home address is 6 Driftwood Court, Gollowoy, New Jerley 08205, in
accordance with the authority of the Sehool Ethics Commission to entertain such complaints
under N.J.S.A. 18A:12-21 et seq.:

Q_o.tmt_Qns

1. At all times relevant, Peter Coporilli is a member of the International Academy of
Atla.ntio City Charter Sehool Board of Trustees ("IAAC Board") located at 6718 Black Horse
Pike, Egg I-iarbor Township, New Jersey 08234. Dr. Caporilli has been a member of the IAAC
Board since its inception

2. Dr. Caporilli has been the President of the IAAC Boord and etn‘rently continues to

serve in this capacity.
3. As a member ofthe IAAC anrd, Dr. Caporiili is subject to the New Jersey
Sehool Ethics Aet, N.J.S.A. lBA:l2-21 et seq.

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4. Anna Dosen and lose Afonso are employed by SABIS Educational Systems, inc.
ISpringiieid Education Management LLC (collectively "SABIS"). SABIS is an educational
service provider.

5. Since .ianuary 2015. SABIS has provided managerial, administrative, and
educational services to the IAAC Board and its staff pursuant to a contract between SAB|S and
the IAAC Board.

6. Specifical|y, SABIS is responsible for the selection, hiring, and performance
review of ali personnel. Per the contract with SABIS, the Board delegates ali personnel
functions relating to the employment of the Sehool Director to SABIS including the selection,
hiring, training, managing, reviewing, determining, compensation and terminating the Sehool
Director. In addition, SABIS is responsible for the management and administration ofthe
schooi, its staff, facilities and programs

7. Dr. Caporilli routinely micromanages and asserts himself in the daily operations
ofthe international Academy of Atiantic City Charter Sehool (“School").

8. Most recently, beginning on or about anuary 2018, Dr. Caporilli unilaterally
discussed, negotiated, and determined various terms of employment ofthe Sehool Director, Dr.
Natakie Chestnut. For example, Dr. Caporiili met with Dr. Chestnut on March 2, 2018 to discuss
her employment and performance

9. On April 16, 2018, the Board placed Dr. Chestnut on administrative leave
pending an investigation On or about this time, Dr. Caporilli unilaterally pre-arranged,
negotiated, selected and/or presented a candidate for an interim Sehool Direetor. In addition, on

or about this time, Dr. Caporilii unilaterally pre-arranged, negotiated, selected end/or presented a

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candidate, who is a close, personal friend of Dr. Caporiili, to conduct an investigation regarding
Dr. Chestnut.

10. On May 14, 2018, Dr. Caporilli held a meeting with all Sehool staff announcing
that Tony Degatsno is the new Interlm Director. Dr. Caporiili directed Mr. Degata.no to begin
working on evaluations of staff members prior to any Board action to approve his employment.
On May 16, 2018, Mr. Degatano notified all staff that he would be out the week of May 21 , 2018
and that Carol Spina would be substituting for him as interim Sehool Director.

ll. On May 14, 2018, Dr. Caporilli announced to all Sehool staff that the Board is
ending its contract with SABIS for the 2018-2019 school year without Board approval. The
Human Resource Generalist at the Sehool notified all staff that the Board “has made a decision
to move forward into next year without SABIS." However, no Board action was taken.

12. At all times relevant, Dr. Caporilli has directed the Htunan Resourees Generalist
to notify him of every instance in which SABIS requests information from the school.

13. At all times reievant, Dr. Caporilli refers tol considers, and!or utilizes the IAAC
Board room as his personal oftice. For example, in March 2018, Dr. Caporiiii was upset with
Dr. Chestnut for using the IAAC Board room when he was on the premises.

14. Dr. Caporll|i conduct violates N.J.S.A. 18A: 12-24.1(c), (d), (e). (t) and (h) of the
Sehool Ethics Act.

991th

15. Complainants repeat each and every paragraph above as if set forth at length
herein.

16. At all times relevant, in addition to serving as President of the IAAC Board, Dr.

Caporilli has simultaneously served as President ofthe Atlantie City Ballet.

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17. At the August 9, 2017 IAAC Board meeting, Dr. Caporiili voted in favor of
approving the bill list, which included payment of $1,430.00 to the Atiantie City Baliet.

18. Complainants only recently discovered Dr. Caporilii’s action on or about Aprii
24, 2018 due to the lAAC Board's egregious delay in providing board meeting agendas and
minutes. Speciiieaiiy, SABIS has repeatedly requested the IAAC Board to provide meeting
agendas and minutes in a timely fashion, yet the lAAC Board has refused to do so.

19. Dr. Caporilii's conduct created a direct or indirect benefit to himself and an
organization with which he serves as President.

20. As a result, Dr. Caporllli‘s conducted violates N..l.S.A. iSA: l2-24(b) and (c) of
the Sehool Ethics Act.

WHEREFORE, Anna Dosen and lose Afonso request that the Sehool Ethics
Commission find and determine that Dr. Caporiiii has violated the Sehool Ethics Act and that he
be subject to such penalty as provided by the Act.

CAPEHART & SCATCHARD. P.A,
Attorneys for Complainants. Anna Dosen

 

and lose Afonso
Dated: lane _{L. 2018 By; JJQU'
Sanmathi Dev, Esq.

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CERTTF!CATION UNDER OATH

Anna Doeen and Jose Ahn.so, both of full age, being duly sworn upon his or her oath
according to law deposes and eeys:

1. lam the complement in this matter.

2. Iheve read the complaint and ever that the iiic`ts contained theroln'- arc true to_thobeet` of
my knowledge end belief and l am aware that the statute that mooted the Sehool Ethics
Commission authorizes tire Sehool Ethics Commissicn to impose penalties for dilng o-ti'ivolous
complaint. N.J.S.A. lBA:12-29(e). 1 am aware that ifthe-respondern alleges that'the complaint
is ti‘ivoious, I shall have 20 days B'orn receipt ofthe answer to respond to the allegation

3. The subject matter ofthls complaint is not pending in any court of law or administrative
agency of this Statc. I will advise the Sehool Ethics Commission ifl subsequently become

aware that it is pending elsewhere

 

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Jose Afonso

'Dato:

Sworn and subscribed to behre rne this day of , .

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CERTIFICATION UNDER OATH

Anna Doscn and lose Afonso, both of tirii age, being duly sworn upon his or her oath
according to law deposes and says:

l. I am the complainant in this matter.

2. Ihave reed the complaint and aver that the facts contained therein are true to the best of
my knowledge and belief and I am aware that the statute that created the Sehool Ethics
Commission mthorizes the Sehool Ethics Conunlssion to impose penalties for iiiing a frivolous
complaint. N.J,S.A. iSA:12-29(e). I am aware that it’ the respondent alleges that the complaint
is iiivoious, I shall have 20 days from receipt ofthe answer to respond to the ailegation.

3. 'Ihe subject matter ofthis complaint is not pending in any court of law or administrative
agency of this State. 1 will advise the Sehool Ethics Comrnission ifl subsequently become
aware that it is pending elsewhere

 

Anna Dosen l

Date:

Sworn and subscribed to before me this day of , .

 

Datc: O§ -// -s- /j"

Sworn and subscribed to before mathis | | ib day ol"_'LAL_, M.

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Stata of New Harnpshlrc

County of H|||sborcugh
This instrument was acknowledged before ma on the _L[!~of am 2018, by_B»_§~£__A:£'A!S_L-

My commissi nexp_l_ras:__g`§gj€ § M) _ .MM:§.\.¢..L._M-_

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Mas_oassa!xss
l hereby certify that on the ” H' day of June, 2018, l caused to be delivered via email

 

and regular mail a copy of the foregoing Complaint directed to the foilowing:

Dr. Peter Anthony Caporilii
6 Drifiwood Court
Galloway, NJ 08205

mancr@ssmaast.nst
pater@tidsntatsnacrkahaassm
I hereby certify that the foregoing statements made by me are true. l am aware that if any

oftire foregoing statements made by me are willfully thise, I am subject to punishment

»¢-Dcr

Sanmathi Dev, an. `

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